                    EXHIBIT 2




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· · ·· · · · · TRANSCRIPT OF THE AUDIO RECORDING OF:

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· · ·Absolute Proof: Exposing Election Fraud and the Theft of
· · ·· · · · ·America by Enemies Foreign and Domestic
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· · ·· · · · · · · · · · February, 2021

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· · ·· · · · · · · · · Michael J. Lindell

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·1    · · · · ·MIKE LINDELL:· Hello everyone, this is Mike Lindell,
·2    the CEO of MyPillow. As you all know, I have been attacked the
·3    last month, relentlessly on social media, by newspapers, by TV
·4    shows, by you name it, I've been attacked, in myself, not just
·5    myself, but my company. The boycotts that are going on, box
·6    stores are dropping me. Social media, they cancel my Twitter.
·7    Today, they cancel MyPillow's Twitter account, my company's
·8    Twitter account. Well, before I was going to get erased
·9    completely, we put together this show. And what you're going
10    to see today is what they don't want you to see, why they're
11    trying to erase me. And what I've told everyone out there is,
12    you know, what, I seen evidence. I've been trying since
13    November 4th, to prove, you know, to show what's out there.
14    Why, why are these deviations that happened on election night?
15    It nothing, none of it made any sense. So I dove all in with
16    everything I had, resources, anytime I heard something that
17    maybe was relevant, I went and said, you know, looked into it,
18    did my own due diligence, had my, even my own investigations.
19    Well, on one day, I think it was like January 9th, all of a
20    sudden, these people, they brought me some, a piece of
21    evidence, that's 100% proved. It's like a print of inside the
22    machine of the timestamp that showed another country, other
23    countries attacking us, hacking into our election through
24    these machines, and it shows a vote's flipped. And I'm going


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·1    wow, I got to get this out there. And from that point on, I
·2    started putting it out there and that's when they just started
·3    attacking me. Well, they obviously, you're hiding something,
·4    and tonight, you're going to see what they're hiding, you're
·5    going to see on this show. We have, we're going to have cyber
·6    forensic experts, we're going to have 100%, you're going to
·7    see all this evidence that by the time you're done seeing it
·8    you're going to go wow, 100%, it proves exactly what happened,
·9    that these machines were used to steal our election by other
10    countries, including China. But I do want to tell you, before
11    we get into all that, I want to tell you what I consider why
12    I'm so happy today, about two miracles that happened these
13    last couple months. The first miracle was on election night.
14    And on election night, 11:15 at night, the, the algorithms of
15    these machines broke, basically broke, and all like this will
16    be explained during this show. But they broke. What that means
17    is Donald Trump got so many more millions of votes that they
18    didn't expect that they had, they're going to have to go
19    recalibrate, right? So that's why all these states shut down,
20    all of a sudden, they all shut down. And we're all going what,
21    that's weird. This has never happened in any other election.
22    And then we're going okay, and then they as the days went on
23    going, what? Another, another week that it takes, you know,
24    like Arizona to count 1% of their vote and, and you see these


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·1    big spikes, like in Michigan and all these big, you know,
·2    votes that were poured in. Nobody understood it, right? We're
·3    like living in this kind of Twilight Zone during that time.
·4    Well, that is one miracle there. Because think of that
·5    wouldn't have happened, think if they would have estimated
·6    right and what would have happened is, it would have been just
·7    like a normal election at three in the morning, they would
·8    have said, "Oh, Biden won, he won by a little bit," and we
·9    would have said, "Oh, better luck next time." But because he
10    got so many votes, it broke that and set off this series of
11    events of these deviations. If that wouldn't have happened, we
12    would have never been here talking about biggest attack in
13    history, the biggest cyber attack ever. And this is, you know,
14    the American dream would be gone forever because we would have
15    never known and it would just you know, using machines that
16    would have took us over forever. Here comes the second, the
17    second miracle. And with this one, I gotta show you here on
18    the, on the on the chart. I'm going to go through these and
19    I'm going to tell you why this is a miracle. Okay, what we're
20    going to do here, we're going to go state by state and we're
21    going to show you what else happened. So here's Arizona, okay,
22    the margin of victory was 10,000 votes that, that Biden, they
23    say Biden won. Now if we look at this, let's go down the chart
24    here. Mail-in ballots requiring adjudication, almost 300,000.


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·1    But these mean, these are votes that they put through and
·2    you're gonna learn that, you're gonna learn all about that
·3    during this show too and adjudication, how that works, but
·4    let's just go to the next one. Illegal aliens voting, 36,400
·5    illegal aliens voted. You see that? He only lost by 10,000.
·6    Boy, of course they can't vote. Okay, Donald Trump wins
·7    Arizona, right? We'll just keep going. Voters registered to a
·8    vacant lot, 2,000. Completed mail-in ballots received the day
·9    before the ballots were even mailed. They got 20, or 22,000
10    ballots back in Arizona before they had even mailed the
11    ballots out. What? That's kind of bizarre, right? Okay, keep
12    going. Down here, Maricopa County electronic adjudicated
13    ballots, 103,000 votes loaded before opening of polls. So the
14    votes were even loaded. They were already in there before the
15    polls even opened, 50,000. Okay, let's just, you see all that.
16    Let's go to the next state here. I'm going to skip Georgia and
17    come back to it. Scroll to Michigan, Michigan dead voters
18    17,367. And this is so, Michigan is kind of its own, we're
19    going to talk about Michigan. It's very different than the
20    other states, what went on there. So it's all grouped
21    together, 615,000 votes that are just in question, and we're
22    going to skip that part, okay. Let's go the next one here,
23    Nevada. Okay, here's Nevada. Illegal aliens have voted in this
24    election, 4,000. Mail-in or absentee ballots for voters that


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·1    were known to have voted in other states, 15,000. Clark County
·2    use signature verification, one out the image quality that was
·3    suggested by the manufacturer and to check the mail-in ballot
·4    signatures, 130,000. We'll just skip through that. Raffle
·5    tickets that they were incentivized, 500. Here we go, here's a
·6    big one, dead people who voted, 1,506. Non-Nevadans who voted
·7    in Nevada, they don't even live in Nevada, 19,218. Voters who
·8    double voted, 42,284. Okay, as you can see, they add up to
·9    over 200,000. Donald Trump lost by 34,000 votes. Okay, let's
10    go to the next one, Pennsylvania. Million votes are counted
11    without a Republican observer. We all heard that stuff, that's
12    well over 600,000. Mail-in ballots, 68. Here's another one
13    too. We could almost come, we're gonna, you're gonna hear a
14    lot about this during this thing. But let's go down, poll
15    workers that voted with various errors in the bins. This is
16    the one where you heard the fake ballots that were driven from
17    New York to Pennsylvania. You'll hear a little about that in
18    the show too. But this is, we're going to go peg Pennsylvania,
19    you can all see it adds up to 866,000. Donald Trump lost by
20    68,000. And there'll be a point to all this I'm getting to.
21    Okay, here's Wisconsin. Wisconsin, surge of by identity
22    combined voters in 2020. That's, it's, that would take a while
23    to explain but there was 130,000. US Postal Service backdated
24    ballots 100,000. Okay, that's incredible if you actually look


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·1    into it. The mail-in ballots entering the tabulation
·2    price under the guise of absentee ballots in clear
·3    violation of state law, 170,000. Okay, Wisconsin, the margin
·4    of victory for Biden was 20,000 votes. Now we're gonna go to,
·5    back to Georgia. Okay, everyone knows the president called the
·6    Secretary of State in Georgia. And on that call, he said, he
·7    was listing these to the Secretary of State. He said, okay,
·8    you have felons with incomplete sentences that voted and cast
·9    their vote, 2,560. Underage children that registered to vote
10    and illegally voted, 66,247. Unregistered voted, voters who
11    voted, 2,423. Registered voters who voted in another state
12    after their Georgia registration date, 4,926. Voters who voted
13    in Georgia and also voted in another state, 395. Voters who
14    voted in Georgia but changed their address before the election
15    to do it, 15,700. People who failed to pre-register to vote in
16    their county in time after moving from one county to another,
17    40,279. Voters who illegally claimed a post office box as
18    their resident, 1,043. Voters who registered too late to vote
19    in the election, 98. People who died prior to the election,
20    they didn't, they were already dead, 10,315. Okay, ballots
21    with no chain of custody, we'll probably talk a little bit
22    about that in this show too, 600,000. And here's what the
23    President said to the Secretary of State in Georgia. Can you
24    just give us, why don't you just give us your, it's only 10,


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·1    he only lost by 11,730 votes, he said, how about you just give
·2    us your underage that voted or your dead people and we win. It
·3    didn't make sense. You say how about this? This, this line
·4    here? This people who have failed to register, 40,000. Can you
·5    just give us them? He said just get, what, he named the
·6    columns. And you know what the Secretary of State of Georgia
·7    said, those numbers are wrong. And, and the President said,
·8    well, where, what, who gave us the numbers, he asked his guy
·9    and that guy said we got them from the Secretary of State's
10    office. And the President said to the Secretary of State,
11    well, when can we get the right numbers? And the other guy
12    said, sir, we've been trying to get them from the Secretary of
13    State for almost two months. And the point being here, now
14    here comes the point I'm making, here's, this is all the
15    second miracle of the election. Every one of these states
16    should have been, and two plus two is four, right? You should
17    say, okay, you can't count dead people, you can't count
18    underage people. Every one of these states, Donald Trump wins
19    if the electors would have done their job, the legislators, if
20    the, if the governors wouldn't have said, you know, hey it's
21    good. All these things that happened, all these anomalies that
22    happened that would've never happened before, but, but much
23    less one state, they all say that, that, hey, we're going to
24    go ahead and use this stuff and we're going to declare Joe


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·1    Biden the winner. But here's the big thing, the big miracle,
·2    if they would have done that, if they would have done that,
·3    and said, you know what? If we can't count these, Mr. Trump
·4    wins, Donald Trump wins, okay, then we wouldn't be where we're
·5    at right now. Because the biggest thing against humanity, and
·6    our country is this attack through these machines, they got
·7    this opened up, this revealed, the, the machines to where
·8    we're at right now. So what you're going to watch during this
·9    show, is 100% proof that the big thing was the theft by these
10    other countries that came in to attack our country, through
11    these machines that are made to steal elections. Every
12    election going forward in history, if these things would have
13    happened, these two, and we wouldn't have, we would have never
14    known, every single vote you would have ever made wouldn't
15    have mattered. Somebody else would have made that vote. And
16    we've all seen in this past month, you think it was a
17    communist coming in and taking us over, with people here, this
18    is an attack not only on other, those other countries with
19    communism, but they had domestic traitors right here in our
20    country. Whatever's going on right now we're seeing it.
21    They're suppressing cancel culture. They're trying to cancel
22    us all out. I just seen churches, the Christian churches,
23    they're being attacked right now. People on social media,
24    anyone that speaks up, they're going, you can't say that,


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·1    you're gone. It's like they're, right now they're doing
·2    whack-a-mole because they know, they knew they were so close,
·3    so close that we would never know in history, what happened.
·4    But guess what, now we do know it, and you're all gonna know.
·5    And when you watch this, and you get through it, at the end,
·6    I'm going to tell you what you can all do. And we're going to
·7    start our show right now and you guys are going to be
·8    absolutely amazed. And now we have with us, Colonel Phil
·9    Waldron.
10    · · · · ·COLONEL PHIL WALDRON:· Yeah, so my, my background in
11    the military is with influence operations, information
12    operations, information warfare, if you will.
13    · · · · ·MIKE LINDELL:· You know, what we're talking about
14    here today is specific, these machines that were used to, to
15    hack into our election and, and by foreign countries,
16    including China, and what, what did you, kind of bring us up
17    through the election for yourself and what, and then how
18    you've gotten so involved right now.
19    · · · · ·COLONEL PHIL WALDRON:· Yeah, we began looking,
20    working with our partners in Dallas, at Allied Security
21    Operations Group with doing some analysis on the data that
22    they had, looking at not only Dominion, but ES&S and Hart,
23    several of the other electronic voting management systems. And
24    we saw a lot of similarities and vulnerabilities in the


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·1    systems that would be easily influenceable or easily
·2    interdicted. And again, as a, as a information warfare officer
·3    that's what I did. I looked for vulnerabilities and ways to
·4    attack systems to create a strategic advantage for US friendly
·5    forces. And so when we started seeing the vulnerabilities, and
·6    all the different ways that you could interdict this, these
·7    electronic voting systems, it became apparent that we had a
·8    problem for the November 3rd election. And that prompted us to
·9    spend a lot of time working with Russ Ramsland, getting a lot
10    of the historical data, the knowledge, and we started working
11    on our own, really doing a lot of connecting the money
12    exercises, doing, doing basic investigative research. And then
13    I brought in our our local DHS team here in Texas, both the
14    intelligence and assessments division, which collects, it
15    collects intelligence for, for the Department of Homeland
16    Security and the CISA, our local CISA rep. And we spent quite
17    a bit of time giving them an introduction to what, what we saw
18    and the vulnerabilities and the ways that these systems could
19    be interdicted to change election outcomes at you know, the,
20    the machine level, the server level, fraud at the local level,
21    which you know, is required to induce the the illegitimate
22    ballots. Then you got the machine level, which is kind of what
23    you were talking about, the algorithms that are directly input
24    into the tabulators. And we have evidence of that in, in Ware


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·1    County, Georgia, that, you know, X amount of ballots went
·2    through, and they basically stole 13% of the vote from
·3    President Trump and put that 13% of the vote into the category
·4    for former Vice President Biden, which made a 26% shift in the
·5    vote. And so when you look at the machine level, the machine
·6    for Dominion or ES&S, there are so many vulnerabilities in the
·7    systems, there are so many fundamental cybersecurity practices
·8    that are not enabled, that it basically allows anybody who has
·9    some technical ability, and the, the want-to to go and
10    influence our elections. And sort of that strategic level is
11    foreign intelligence, foreign intelligence services. And we've
12    got pretty much document, documented Chinese, Communist
13    Chinese Party ownership of the private equity firm, whose
14    board controls Dominion. We've got Chinese communists, the
15    president of the Chinese Communist bank, who is a board, board
16    of directors member of the private equity firm that, that owns
17    Dominion.
18    · · · · ·MIKE LINDELL:· Wow.
19    · · · · ·COLONEL PHIL WALDRON:· And if you, the testing
20    company, the only company that has code, the access to the
21    code, and the testing for Dominion is in Shenzhen, China. It's
22    a Communist Chinese Party company. The US government, the
23    state governments, the county governments, they don't have
24    access to Dominion code. But I think it's kind of, kind of


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·1    unique that a Chinese company that's run by the CCP does have
·2    access to the code. And that's why we started seeing that that
·3    strategic level, that third tier of election manipulation, a
·4    lot of movements of votes, directly, direct access to
·5    Pennsylvania voting precincts, county tabulation centers,
·6    Wisconsin, Michigan, Nevada, Arizona, Georgia, all of that
·7    coming in directly from foreign countries, China being the
·8    predominant one, and through, through Pakistani ISI proxies,
·9    · · · · ·MIKE LINDELL:· Did you find it very frustrating not
10    being able to get, get all this information out to the public?
11    · · · · ·COLONEL PHIL WALDRON:· Yeah, it's, it's very
12    frustrating. The fact that, you know, everyone says, well,
13    there was all these court cases, and all the court cases were
14    lost. Well, that's a lie. And when we get statistics on how
15    many court cases are open, how many were dismissed for, you
16    know, for standing or procedural, but there's only to my
17    knowledge, two cases, one in Michigan and one in Georgia,
18    where evidence has been heard. And those cases are progressing
19    forward. The Senate in Arizona has heard and seen preliminary
20    evidence, and they've issued subpoena, and they're pressing
21    forward with a full forensic audit in Arizona, and that, that
22    could be forthcoming as early as you know, this, this coming
23    week. So it's, it's, it is complex, and it's hard for people
24    to understand and if it's hard to understand, people just


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·1    dismiss it as, you know, conspiracy theory, where it's cyber
·2    warfare and unconventional asymmetric warfare conducted by a
·3    peer threat nation-state, against the United States government
·4    critical infrastructure,
·5    · · · · ·MIKE LINDELL:· The whole country seen when they, you
·6    know, when they shut everything down at night that that was a
·7    deviation, you probably expected this right?
·8    · · · · ·COLONEL PHIL WALDRON:· We were watching, we found the
·9    foreign servers in Barcelona, in the UK, and in Frankfurt.
10    We'd seen several, you know, the one in Toronto, obviously,
11    with Dominion.
12    · · · · ·MIKE LINDELL:· So, you know, 100% proof, that the
13    servers are overseas in other people's countries for our
14    election?
15    · · · · ·COLONEL PHIL WALDRON:· Yes, we were mapping out the
16    servers before the elections. We identified the Scytl server
17    in Frankfurt, down to the street address. Frankfurt has, I
18    think it's, it's either the largest or one of the world's
19    largest server nodes, you know, a cyber node, a communications
20    node, it's called DE, DE for Germany, nics DENICs. And there
21    were several folks watching the, the traffic and the volume of
22    traffic that night, and they noticed a significant spike in
23    traffic that night just due to you know, the volume of
24    information going through. And one of the reasons that they


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·1    said that the the traffic was going up was due to the US
·2    elections.
·3    · · · · ·MIKE LINDELL:· In your opinion, this is an attack by
·4    other countries, of foreign, of foreign countries is what
·5    you're saying then.
·6    · · · · ·COLONEL PHIL WALDRON:· I believe from what I've seen
·7    in the, the witnesses that I've talked to, that this is a coup
·8    that, it definitely involved elements inside our own country
·9    and inside our own federal government. Definitely, definitely
10    part of a coup that was aided and abetted by a foreign threat,
11    nation-state a peer, enemy nation-state - -
12    · · · · ·MIKE LINDELL:· - - Right.
13    · · · · ·COLONEL PHIL WALDRON:· China.
14    · · · · ·MIKE LINDELL:· Do you believe that this attack from
15    other countries could not have happened without people here,
16    domestic people, domestic traders, basically?
17    · · · · ·COLONEL PHIL WALDRON:· Yeah, I believe that. Again,
18    we have affidavits of CIA and State Department personnel out
19    of the Italian embassy participating in this coup. We have a
20    name, email and phone number of a senior DOJ official from a,
21    from a US attorney that said that this individual was shutting
22    down any DOJ or FBI investigation into any election, any
23    election related investigation, and they're trying to shut
24    down judicial cases, court cases. So from inside our own DOJ,


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·1    people were shutting down active investigations. You wonder
·2    why, you know, Mr. Barr didn't find or see any evidence of
·3    widespread election fraud, it's because the FBI never did
·4    anything other than to impede investigations into election
·5    fraud. The FBI went to question the truck drivers who deliver
·6    ballots and created affidavits. They were harassing, you know,
·7    the the Americans, you know, the patriotic Americans who were,
·8    who were whistleblowers - -
·9    · · · · ·MIKE LINDELL:· - - Right - -
10    · · · · ·COLONEL PHIL WALDRON:· - - And prosecuting them, like
11    you mentioned something earlier is the machines, the ES&S and
12    Dominion machines. If you look at, you know, military planning
13    factors, there are critical capabilities. A capability is what
14    you have to have to execute your mission, or the enemy has to
15    have to execute its mission successfully. So a critical
16    capability for any of this to happen are the inherent
17    vulnerabilities that were built into ES&S and Dominion
18    software, which is, you know, again, we've proven through,
19    through our work that this is all related directly back to the
20    soft, Smartmatic, Smartmatic, SGO Smartmatic software core.
21    And they definitely had financial gains to, financial reasons,
22    based on some of the other investments that they've made.
23    Especially they, you know, looking down the road, if they make
24    billions and billions of dollars, the board of SGO Smartmatic,


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·1    because they own a, an air purification company. So just think
·2    about it, if you get to pick an administration that is
·3    favorable to your company, say if they past the Green New
·4    Deal, and you're going to make billions and billions of
·5    dollars off of government-mandated air purification systems
·6    and public buildings and apartment buildings and industrial
·7    complexes, you know, you would spend quite a bit of money on
·8    the frontside to make sure the election was done. The same
·9    thing with China, if China could avoid the US coming to
10    Taiwan's defense, and we've seen indications of that already.
11    And if China could avoid having to fight a campaign to protect
12    their manmade islands to extend their territorial waters into
13    international navigable waterways, if they could invest a
14    billion dollars to do that versus fighting a war. Well,
15    they've made a pretty good investment, and all the money that
16    they've made into the Biden family, all the money that they've
17    made, invested into US universities and US businesses, buying
18    up our medical and our technical intellectual property,
19    stealing a lot more than they bought. They are, they are
20    fighting a war, people just don't realize that we're under
21    attack.
22    · · · · ·MIKE LINDELL:· So now we have with us Russel
23    Ramsland. He's a founding member of Allied Security
24    Operational Group. They're based in Dallas, Texas, and they do


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·1    cyber forensics and security. Russell, how are you, how were
·2    you involved with all this election fraud?
·3    · · · · ·RUSSELL RAMSLAND:· Well, it was interesting, Mike.
·4    It's been a long road for us, about two years ago we had some
·5    logs from the Dallas general election brought to us from the
·6    central tabulation server. And people ask, what do these logs
·7    mean? It was about 1,100 pages, and we got looking at them and
·8    we were horrified at what we found. Because what we found was
·9    that people were getting into the system, and they were
10    changing the votes. They were erasing databases, they were
11    reloading them. And it was coming from remote locations
12    and our guys are going this can't be.
13    · · · · ·MIKE LINDELL:· Now this was back, this is in 2018
14    when they, so these guys came to you with these, and these
15    were, these were voting machines, and were they Dominion
16    machines?
17    · · · · ·RUSSELL RAMSLAND:· No, no, no, we use ES&S in Dallas,
18    not Dominion.
19    · · · · ·MIKE LINDELL:· So are they, are they, are they
20    similar, similar machines?
21    · · · · ·RUSSELL RAMSLAND:· Yes, yeah, it's, it's very similar
22    stuff. Most of these voting companies all have similar DNA in
23    their [inaudible].
24    · · · · ·MIKE LINDELL:· But what you've seen was, was very, it


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·1    horrified you?
·2    · · · · ·RUSSELL RAMSLAND:· Yeah, it did. Because clearly
·3    somebody was playing with the election.
·4    · · · · ·MIKE LINDELL:· Wow.
·5    · · · · ·RUSSELL RAMSLAND:· So we tried to get the authorities
·6    alerted. We brought in a DOJ prosecutor that ran the cyber
·7    group in North Texas. And she was horrified at what we showed
·8    her. And she asked us to put it together and eventually
·9    submitted it to the FBI. And we did that and they did nothing.
10    So we continued to investigate and the more we found, the more
11    horrifying it got. Now, this all was still coming out of
12    Dallas. We tried to get senators to look at this, and we tried
13    to get state officials to look at this, but we continued to
14    work on it on our own, we had no client at all. And
15    eventually, we did get seven members of the Freedom Caucus
16    this last July to take a two hour briefing without staff. And
17    what they saw was absolute proof that this electronic voting
18    system that we have is completely compromised. It can be
19    completely manipulated. And they were horrified.
20    · · · · ·MIKE LINDELL:· We've all heard that Texas denied
21    these machines.
22    · · · · ·RUSSELL RAMSLAND:· Well, Texas denied Dominion, but
23    Texas uses other voting machines. We use Hart, and we use ES&S
24    in Texas.


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·1    · · · · ·MIKE LINDELL:· Right. So why, so why would Texas,
·2    they denied these Dominion ones, and in your opinion, so they
·3    must have looked at them and said there's something there we
·4    don't like, but then they, over here, with Smartmatic and
·5    these other ones, they were okay with that? What would be your
·6    opinion of why, why one, they would deny one machine that,
·7    because they're afraid of election fraud, and, and over here,
·8    they accepted that one?
·9    · · · · ·RUSSELL RAMSLAND:· I think that it sometimes has more
10    to do with politics and influence, who gets through and who
11    doesn't [inaudible] for the machines.
12    · · · · ·MIKE LINDELL:· Okay.
13    · · · · ·RUSSELL RAMSLAND:· So we finally ended up with some
14    investigators, with Ron Johnson's Department of Homeland
15    Security oversight group. And they were horrified at what we
16    showed them. And they tried to get CISA, which is the Cyber
17    Intelligence Security Administration inside the DHS, they
18    tried to get CISA to take a look. CISA would not take the
19    briefing, they couldn't be less interested. So we didn't quite
20    know what to do. We were beginning to find some media people
21    who wanted to start talking about this, and they became
22    appalled. But the break really came in early August when we
23    got some DHS people in Austin with the I&A division, the
24    intelligence and analysis division down there, to take a look


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·1    at what we had. And that's the division that used to have
·2    voter integrity before it was handed to CISA. So they looked
·3    at it and they were horrified and they sent a whole team to
·4    our shop, we spent 11 hours with them. They asked us if we
·5    would give them their, our data, we said of course. And so we
·6    gave them all our data. They took it back to Austin and
·7    unknown to us, they gave it to three private cyber groups that
·8    they use, and said, hey, are these guys crazy? I mean, is this
·9    nuts or is this, is there something here? Well, all three
10    groups looked at it and all three groups came back, not only
11    is it right, it's horrifying.
12    · · · · ·MIKE LINDELL:· Okay, I want to ask you there when you
13    say horrify, can you explain to everybody watching this right
14    now, what, what horrified you, was that the fact they could go
15    online?
16    · · · · ·RUSSELL RAMSLAND:· Well, there's no effective
17    security at all for your votes. Your votes are stored
18    overseas, where they can be easily - -
19    · · · · ·MIKE LINDELL:· - - They're stored overseas?
20    · · · · ·RUSSELL RAMSLAND:· Yes, yeah. Yeah.
21    · · · · ·MIKE LINDELL:· Wow.
22    · · · · ·RUSSELL RAMSLAND:· 27 states use what's called
23    Clarity Scytl Election Night Reporting and those servers are
24    overseas, they have what are called s3 bucket vulnerabilities.


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·1    And people can get in and change the votes there. And then
·2    they can load them all the way back down to the county level
·3    here in this country because Scytl gets all their credentials
·4    from every single county server here. And so they can get into
·5    every single county server and change the votes here from
·6    overseas. It's crazy.
·7    · · · · ·MIKE LINDELL:· Wow. So everything that everybody has
·8    been talking about all through, that they've tried to suppress
·9    and that they, we heard that machines weren't even online, and
10    you're saying that 27 states use this and the servers are
11    overseas. So these can go over there and they can change the
12    vote to anything they want and send it back cyberly, by cyber.
13    · · · · ·RUSSELL RAMSLAND:· Correct.
14    · · · · ·MIKE LINDELL:· Wow.
15    · · · · ·RUSSELL RAMSLAND:· So they became, the DHS people in
16    Austin realize what we're telling them was correct, they
17    became horrified. And they began to try to have a series of
18    classified briefings within their own group in order to push
19    this up, up the chain. And they got about one or two levels
20    up, and then they met a solid wall of resistance that
21    basically said, leave it alone, don't pursue it.
22    · · · · ·MIKE LINDELL:· Wow. And what do you, what do you
23    think being now, we're telling the facts on the show here. But
24    in your mind, why would they do that? What, this is just


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·1    subjectively, why would they, why would you, why would they do
·2    that in your mind?
·3    · · · · ·RUSSELL RAMSLAND:· I don't know, Mike.
·4    · · · · ·MIKE LINDELL:· You can't explain it. I mean, this is,
·5    okay. So, so then, so take us from there. So this is like,
·6    what, what, approximately, when was this happening when it
·7    kind of, when it got stopped?
·8    · · · · ·RUSSELL RAMSLAND:· That was September.
·9    · · · · ·MIKE LINDELL:· Wow. Close to the election. Okay.
10    · · · · ·RUSSELL RAMSLAND:· Well, it's the election. So what
11    actually happened in this election, this stolen election, we
12    already knew was going to happen. We already had seen it. We
13    knew it was all possible. We knew it was all out there. Now,
14    we didn't know how many foreign servers. You know, before, we
15    weren't seen very many foreign servers come in and change
16    votes. But in this election, of course, we saw thousands from
17    all over the world.
18    · · · · ·MIKE LINDELL:· And you're seeing, you've seen
19    thousands. Alright, you've seen all these these hacks, have
20    you actually seen that with your own eyes?
21    · · · · ·RUSSELL RAMSLAND:· We have seen the data that is I
22    supposedly representative of that.
23    · · · · ·MIKE LINDELL:· So this, the election goes down, you
24    knew what was going to happen? Is it exactly what you thought


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·1    was going to happen?
·2    · · · · ·RUSSELL RAMSLAND:· Yeah, we thought it was going to
·3    happen on three levels, we thought there would be massive
·4    local cheating, we thought there would be cheating through the
·5    actual voting companies themselves, whether it's them or
·6    someone else manipulating them and we thought that there would
·7    be cheating from votes being injected from overseas. And
·8    that's exactly what we saw happen. And we developed huge tons
·9    of absolute proof on this, but no court case was ever allowed,
10    ever allowed it to be presented. So that sort of gave fodder
11    to this media myth that it didn't exist, but it does exist.
12    It's out there. It's unbelievable. It's massive.
13    · · · · ·MIKE LINDELL:· Wow. Did everybody hear that? What he,
14    what Russell's saying here? This is what everyone says. Well,
15    there was no evidence. So you're saying no judges would look
16    at the evidence, is that correct?
17    · · · · ·RUSSELL RAMSLAND:· That's correct.
18    · · · · ·MIKE LINDELL:· Okay. And now we don't know why. We
19    don't know why. I mean, it wasn't because there wasn't
20    evidence. They didn't even want to look at it. Is that
21    correct?
22    · · · · · RUSSELL RAMSLAND:· That is correct.
23    · · · · · MIKE LINDELL:· · Okay, now we've heard about, we've all
24    heard, in fact on this show, the Antrim County in Michigan. Were you


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·1    guys ever, were you guys, I, weren't you guys contacted to
·2    look into that?
·3    · · · · ·RUSSELL RAMSLAND:· That was our work, yes.
·4    · · · · ·MIKE LINDELL:· Oh wow. Okay.
·5    · · · · ·RUSSELL RAMSLAND:· I actually signed the forensic
·6    audit report. And cuz our guys did all that, our, part of our
·7    team. And that came about because there was a down ballot
·8    race. And the judge allowed some limited discovery. What came
·9    out of that was appalling enough that he allowed further
10    discovery. And then of course, that report went national,
11    because what we found was so horrifying.
12    · · · · ·MIKE LINDELL:· Right, for everybody out there, what
13    we've all heard, this Antrim County, in Michigan, and in this
14    show here, we've, you know, you've, you've seen it, we've had,
15    we've, this is a, this is the reason it was talked about so
16    much, because this is a small county, and it was like
17    15,000-some people voted and it was 7,000-some votes flipped.
18    I mean, so it was so obvious. You know, we had 65% Republican
19    and 35% Democrat normally, and it was completely flipped. So
20    everybody in town knew it was a deviation that didn't make
21    sense. And so, so Russell, this case is still open is that,
22    that's correct, right?
23    · · · · ·RUSSELL RAMSLAND:· That is, that is correct.
24    · · · · ·MIKE LINDELL:· Okay, can I, can I ask you this? So


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·1    what you've seen there is exactly what you knew was going to
·2    happen. And now were you able to look at other places? What
·3    was different about Antrim County now that, what we all heard
·4    was you were able to get into the, you know, the forensics of
·5    it and see all this. Were you able, have you been able to do
·6    that in any other places in the United States since then, or,
·7    you know, since this election ended on, in November?
·8    · · · · ·RUSSELL RAMSLAND:· Actually, on a limited basis, we
·9    have been able to go in two other counties. We have not
10    published that information yet. And there are reasons why we
11    aren't publishing that information right now. But both of them
12    have not only confirmed, they have confirmed that it's even
13    worse than in Antrim.
14    · · · · ·MIKE LINDELL:· Did everybody hear that? What we have
15    here, and Russell can't disclose this because what, every time
16    something pops up, it gets buried out there, things happen. I
17    don't, I, you know, this is, this is the most attack on our
18    country, and I'm telling you, ever. I mean, this is, and, if
19    that's right, you know, it's getting suppressed every,
20    everywhere. So what he's saying, two other places now, is this
21    breaking news right now? You're saying right now, you have two
22    other places, and what you're seeing is even worse than you
23    could ever imagine?
24    · · · · ·RUSSELL RAMSLAND:· Well, it's, it's, it's just like


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·1    Antrim only it's worse in many ways. You know, in Antrim, what
·2    people need to understand, real simple, Mike, when people vote
·3    and they scan their ballot in, it either goes into the regular
·4    sort of bucket and gets voted, or else it goes into what's
·5    called an adjudication bucket. If it goes into the
·6    adjudication bucket, then whoever's running the voting system
·7    gets to vote that vote however they want. Well, in, in Antrim
·8    we found ballot rejection rates of 82%, 82%. 82% of the
·9    ballots were going to adjudication - -
10    · · · · ·MIKE LINDELL:· What is, what is this, what's the
11    normal number? I mean, is there a normal number for a, for an
12    election that would be, what percentage, and, and what would
13    be it on the high end?
14    · · · · ·RUSSELL RAMSLAND:· Well, certainly less than 1% would
15    be, should ever go to adjudication - -
16    · · · · ·MIKE LINDELL:· Wow, less than 1%, everybody, and this
17    was 85%.
18    · · · · ·RUSSELL RAMSLAND:· Yeah and Fulton County, they, the
19    Fulton County people themselves admitted to a 93.6%
20    adjudication rate in some cases, that means the entire
21    election was decided by the people that ran the system, not by
22    the voters.
23    · · · · ·MIKE LINDELL:· And now what you're talking about
24    there is it, this is one of the way these machines, can, you


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·1    can, that you can cheat through the fraud, or cheat there. But
·2    this does not count what you're talking about earlier, the
·3    cyber forensics, where that goes overseas to these servers
·4    that are all based over there, correct?
·5    · · · · ·RUSSELL RAMSLAND:· That does not, that's a different
·6    issue altogether.
·7    · · · · ·MIKE LINDELL:· Right, so both of them involved the
·8    machines, everybody. One we've talked about in this show is
·9    here. But then the cyber one is what you just heard from
10    Russell, which he said earlier, this is all the attack by the
11    other countries that hacked in which we're going to show you
12    that proof now that Russell doesn't even know that we have
13    that's going to show who did it, the time they did it, the
14    computer they did it off it, everything. If we would have
15    never found out, or this would never have gotten, what we're
16    going to get to now. What in, what would the future have
17    looked like in elections?
18    · · · · ·RUSSELL RAMSLAND:· Well, I mean, we're basically
19    approaching Venezuela, where it doesn't matter who's voted.
20    · · · · ·MIKE LINDELL:· Doesn't matter. Right. Somebody else
21    picks our people for him so why vote, right? I mean, that's
22    the way, that's the way it would have been. Machines that go
23    online, like, and it's not, now you said earlier, it's not
24    just Dominion, it's all the, all the machines that were used


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·1    in this election. What, is that what you would say?
·2    · · · · ·RUSSELL RAMSLAND:· Yes, that's absolutely a fair
·3    statement. And look, let me, let me tell you a little bit
·4    about that. You know, for these people that say it's not
·5    online, we have videos of workers with pollbooks, who are
·6    swiping left on their pollbook and bringing up Netflix and
·7    getting a movie and watching it on their pollbook. How does
·8    that happen if it's not connected to the internet?
·9    · · · · ·MIKE LINDELL:· Right, right.
10    · · · · ·RUSSELL RAMSLAND:· We have affidavits of a election
11    judge who showed up at her precinct, found to her horror, they
12    had loaded the wrong precinct in her equipment, called her
13    voting company and her voting company put her on hold and the
14    self, the help desk from another state called in and in 10
15    minutes somehow reloaded her pollbooks from another state with
16    the correct precinct. How does that happen if it's not
17    connected to the internet?
18    · · · · ·MIKE LINDELL:· I know they were all online, but they,
19    but is it illegal for them to be online?
20    · · · · ·RUSSELL RAMSLAND:· Well, it depends, some places yes,
21    some places no. I mean, the assurance is that you can trust
22    the voting system because they're not online, but they are
23    most clearly online.
24    · · · · ·MIKE LINDELL:· I gotcha. I gotcha.


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·1    · · · · ·RUSSELL RAMSLAND:· Now here's one you don't know. We
·2    ran this, a different group here, a little operation in Dallas
·3    during this last election. And let me describe the operation,
·4    so you'll understand the magnitude of what I'm telling you.
·5    What we did is every day, we just took the information on the
·6    voter records of the people who voted that day in Dallas,
·7    Dallas posts them online. So you get a big, big long record of
·8    this voter, you don't see how he voted but you see everything
·9    else, name, where he lives, when he asked for a ballot, where
10    he voted, his residence address, on and on and on. And all of
11    those, as you know, are comprised of zeros and ones. That's
12    how computers work. So all we did is we would add up all the
13    zeros and ones in that voter record, and store it. And then we
14    would watch what would happen to that voter record as we
15    worked our way through early voting. Mike, we saw 57,000 votes
16    get their voter records changed during early election alone in
17    Dallas, Texas.
18    · · · · ·MIKE LINDELL:· Wow.
19    · · · · ·RUSSELL RAMSLAND:· We saw a 10 block long streak in
20    Dallas, Texas, get every single vote wiped out, and then
21    subsequently replaced one at a time with clearly something
22    changed because the the hash, in other words, it's, it's a, a
23    record of the zeros and ones, had been changed. And so we know
24    it was tampered with.


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·1    · · · · ·MIKE LINDELL:· Wow.
·2    · · · · ·RUSSELL RAMSLAND:· I mean it's unbelievable.
·3    · · · · ·MIKE LINDELL:· Was it nationwide that this happened?
·4    · · · · ·RUSSELL RAMSLAND:· Yes.
·5    · · · · ·MIKE LINDELL:· Okay. And you've seen the cyber, the
·6    cyber forensics that show that, we will show that too. But I
·7    just want to ask you, why, if you're, if there's, you know,
·8    why did they, why did they set these machines down to win
·9    Texas too? I mean, or do you, you know, what would be your
10    opinion on that, of why they didn't set them high enough to
11    win Texas too?
12    · · · · ·RUSSELL RAMSLAND:· Well, there had been a certain
13    amount of concern raised in, in Texas as a result of our 2018
14    work. You know, Pete Sessions actually filed a complaint in
15    Texas, and published a paper on it, because his race got
16    stolen. And so they were very well aware that Texas was going
17    to come under some scrutiny that other places probably were
18    not.
19    · · · · ·MIKE LINDELL:· Right.
20    · · · · ·RUSSELL RAMSLAND:· And there was also a huge
21    operation down in Houston, where a vote scamming scheme for
22    over 700,000 votes was exposed. And so there was a lot going
23    on in Texas, and I think it made him a little skittish to
24    operate as brazenly here as they - -


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·1    · · · · ·MIKE LINDELL:· They might, they might have backed off
·2    a little. But you just said something there. So you're telling
·3    me that they controlled all the downtickets too if they
·4    decided that they wanted to flip a senator or a congressman or
·5    whatever, is that correct?
·6    · · · · ·RUSSELL RAMSLAND:· No doubt. Absolutely.
·7    · · · · ·MIKE LINDELL:· So Russell, could you speak
·8    specifically to the malware?
·9    · · · · ·RUSSELL RAMSLAND:· Sure. There is a company out of
10    Barcelona, Spain call Scytl and it owns a company called
11    Clarity Election Night Reporting. And Hart reports to them and
12    Dominion reports to them, ES&S reports to them, all these
13    companies report the votes to them. And then election night
14    reporting supposedly just passes the votes along to the media.
15    But using standard white hat tools, we can look and see what
16    is is on their server over in Frankfurt, Germany. And there is
17    a, an area on their server on a particular kind of equipment,
18    there is a piece of malware called QSnatch. QSnatch actually
19    watches all the information that comes in, and it grabs the
20    login credentials of every single county in the country that
21    reports to it so that once it has all those credentials, it
22    can then look back into that county and it can access the
23    county database from overseas or wherever else it wants to, if
24    you want to inject changed votes, either to the adjudication


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·1    system or just plain flat replace the database. So it's, it's,
·2    a, it's a massive, massive, massive security vulnerability.
·3    And it is there, it is working and they have all the login
·4    ability they need to get into any county that reports to it.
·5    · · · · ·MIKE LINDELL:· Wow so, so basically, what you said
·6    earlier, all the, all the servers are over there, they can
·7    take all of our counties in our country, look at them, and
·8    then decide what they want to do with that information and
·9    what they can do in the county, what they need to flip. So,
10    you know, we all heard this, we all heard about this Italy
11    thing and that it went to Italy and Germany where they had to
12    on the, I guess this would be in the middle of the night on
13    November 4th. Is this something, I, would you know anything
14    about that? I mean, to, I mean, so the, what we've all heard
15    out there is it went over there, some guy even admitted he did
16    it, which we're going to have his affidavits up here, but what
17    do you, what's your opinion on that?
18    · · · · ·RUSSELL RAMSLAND:· Well, our opinion on that was that
19    it should have been investigated. Because it is very
20    consistent with what we do see happening. But it was not
21    investigated. Apparently, the Department of Justice did not
22    investigate. You know, you got the usual, "Oh, it's been
23    debunked." Well, who debunked it? "Uhhh." When did they debunk
24    it? How did they debunk it? "Uhhh." There was no investigation


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·1    by anyone of that information. And there should have been
·2    because it is entirely consistent. I don't know if it's true.
·3    But it's entirely consistent with everything we have seen in
·4    terms of capabilities.
·5    · · · · ·MIKE LINDELL:· Bill Barr comes out and said, there's
·6    no evidence. I mean, what would be your opinion why people
·7    would keep pushing this down and not wanting to know, I don't
·8    care what side of political lines you're on. Why would you not
·9    want to know if it the truth?
10    · · · · ·RUSSELL RAMSLAND:· That has been a constant, haunting
11    question to everyone on our team. I think it's a combination
12    of things. I think some people are truly, completely, totally
13    corrupt. I suspect that at the bottom of this, you might find
14    that our government has been changing votes in other countries
15    for years, and they don't really want it revealed, certain
16    parts of our government. I think that there are people that
17    don't want to look, they're afraid to look. I think there are
18    probably people who are compromised and they've been told to
19    stay out of it.
20    · · · · ·MIKE LINDELL:· Right.
21    · · · · ·RUSSELL RAMSLAND:· I think it's a variety. It's not
22    one simple little reason.
23    · · · · ·MIKE LINDELL:· And that's what I wanted people to
24    hear, because I hear it all the time. People are going, you


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·1    know what, this, you know, Bill Barr said this and the all,
·2    there's no, none of the judges accepted it, and you hear all
·3    this. And we can't explain all that, because it's probably
·4    multiple things like Russell says there and that's my opinion,
·5    too. It could be anywhere up to a dozen things, who knows. But
·6    it doesn't matter. All that doesn't matter because now the
·7    truth is told today and it's all coming out. And, and
·8    everybody you know, I really believe what's going to happen
·9    once everybody sees now this is finally you're going to have
10    people that aren't afraid to speak out, because it'll be, it's
11    too late to close the gate, the cows are out of the barn.
12    Everybody's gonna know about it, and they're gonna want to
13    know more and more. So...
14    · · · · ·RUSSELL RAMSLAND:· You know, Mike, the real thing is,
15    I think pretty soon the question's gonna start to turn around
16    and people are going to go, wait a minute, what is everyone so
17    afraid of?
18    · · · · ·MIKE LINDELL:· Right.
19    · · · · ·RUSSELL RAMSLAND:· Why are they going to such
20    incredible lengths to say there's nothing here when there
21    clearly is something here? Well you know, this is almost like,
22    you and I remember Enron, this is almost like Enron. Would we
23    all be saying, "Oh, no, we don't want to investigate Enron. No
24    one should look into Enron. No, no, Enron shouldn't have to


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·1    tell you how they spend your money. You just keep giving them
·2    your 401k money." No. That's not how it works. And that's not
·3    how our voting system should work either.
·4    · · · · ·MIKE LINDELL:· So now we have with us, Dr. Shiva. He
·5    has four MIT degrees. He's an expert at system science and
·6    pattern analysis and I met him four weeks ago, because I don't
·7    want anyone out there going, "Well, Mike, why didn't you bring
·8    this to us before?" Well, I just met Dr. Shiva four weeks ago,
·9    and he's gonna tell you, he actually ran for Senate. And he
10    knows all about these machines now and we're going to hear
11    some of the stuff that I found out went wow, this is a,
12    absolutely validates this election fraud with these machines.
13    So...
14    · · · · ·DR. SHIVA AYYADURAI:· Thanks, Mike. I'm glad we
15    connected.
16    · · · · ·MIKE LINDELL:· Yeah.
17    · · · · ·DR. SHIVA AYYADURAI:· You know, it's an interesting
18    opportunity for me, Mike, because it's rare that a guy who's a
19    scientist and engineer, an MIT guy even runs for office.
20    · · · · ·MIKE LINDELL:· Right.
21    · · · · ·DR. SHIVA AYYADURAI:· And then it's even more rare
22    that you come across something you never thinks occurs in the
23    United States. You know, I grew up in India and third world
24    countries. We talk about election fraud. When I was running in


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·1    Massachusetts in 2020 we had 3,000 volunteers on the ground,
·2    you know, 20,000 bumper stickers, 10,000 lawn signs, billboard
·3    ads, radio, TV, network, we were everywhere. The GOP
·4    establishment, who doesn't want a bottoms-up guy like me, who
·5    hated Trump, ran a no-name out there who, no real lawn signs,
·6    no bumper stickers, no organization, nothing. And we knew on
·7    election night, which was the Republican primary September
·8    1st, 2020, the word landslide is what we heard everywhere. We
·9    knew we - -
10    · · · · ·MIKE LINDELL:· But you were gonna win by a landslide.
11    · · · · ·DR. SHIVA AYYADURAI:· Oh, yeah, yeah. I mean, it was
12    obvious. I mean, we worked. I mean - -
13    · · · · ·MIKE LINDELL:· - - I think you said unless there was
14    election fraud, but you probably thought, but I just, you
15    know, maybe someone put on two ballots.
16    · · · · ·DR. SHIVA AYYADURAI:· Yeah, one of my close friends
17    said, "Shiva, we're gonna win this unless there's election
18    fraud." And I just thought this is just some fringe stuff,
19    right?
20    · · · · ·MIKE LINDELL:· Right but you weren't thinking about
21    machines?
22    · · · · ·DR. SHIVA AYYADURAI:· I wasn't thinking about
23    machines, because I didn't know that, you know, you know, from
24    creating email and all these systems, I know the power of


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·1    machines - -
·2    · · · · ·MIKE LINDELL:· Oh, by the way, yeah, he created
·3    emails, right?
·4    · · · · ·DR. SHIVA AYYADURAI:· I did, I created email as a - -
·5    · · · · ·MIKE LINDELL:· Creator of email. I just want to tell
·6    you, the guy's a genius. So what you're going to hear here,
·7    this is what I did my due diligence on. I, you know, this is
·8    just one guy going okay. You know, is this real or is this
·9    not? And it, believe me, it's real.
10    · · · · ·DR. SHIVA AYYADURAI:· Yeah, I mean, you know, so I
11    have a lot of history, not only pattern analysis and systems
12    science - -
13    · · · · ·MIKE LINDELL:· Right.
14    · · · · ·DR. SHIVA AYYADURAI:· But I build large-scale
15    computer systems and stuff I've used has been used by the
16    Senate, has been used by the largest fortune 1000 companies in
17    the world. So I know how you move from paper-based systems and
18    electronic systems. And I know the power of electronic
19    systems. When you put some process that's in electronic form,
20    a single individual has immense amounts of power. So that's
21    the background. But on September 1st, 2020, what we saw was,
22    we knew we'd won on a landslide. And there we are, with our
23    big party set up, and we see the results coming in. Now
24    Massachusetts, we saw in Franklin County, which is 80 to 90%,


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·1    hand-counted paper ballots, no machines, I win by 10%. And in
·2    every other County, Mike, 60/40, 60/40, 60/40 - -
·3    · · · · ·MIKE LINDELL:· That you lost by?
·4    · · · · ·DR. SHIVA AYYADURAI:· I lost by.
·5    · · · · ·MIKE LINDELL:· The exact percentage.
·6    · · · · ·DR. SHIVA AYYADURAI:· Exact percentage, by a guy who
·7    was, in a black county this guy wins, in a white county wins,
·8    and in a Hispanic county the guy was nowhere - -
·9    · · · · ·MIKE LINDELL:· By the same percentage.
10    · · · · ·DR. SHIVA AYYADURAI:· By the same percentage.
11    · · · · ·MIKE LINDELL:· That's not only a deviation, but it's
12    an anomaly.
13    · · · · ·DR. SHIVA AYYADURAI:· It's an anomaly.
14    · · · · ·MIKE LINDELL:· Do you think that's impossible, or
15    you're like me - -
16    · · · · ·DR. SHIVA AYYADURAI:· Well, it's highly, I mean to be
17    from a scientific standpoint, you would say it's highly
18    unlikely. And that began my journey to start really saying,
19    wow, election fraud could take place in America. So I started
20    reading up everything I could, by September 9th, eight days
21    later - -
22    · · · · ·MIKE LINDELL:· - - Right - -
23    · · · · ·DR. SHIVA AYYADURAI:· - - I found out something
24    interesting, I found out that these electronic voting


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·1    machines, remember, there's two ways you can vote. One is you
·2    vote, you give a paper ballot, and the paper ballot is counted
·3    by human beings, two people, that's what occurred in Franklin
·4    County. But in those other counties, they take that paper
·5    ballot when you vote electronically - -
·6    · · · · ·MIKE LINDELL:· Into a machine.
·7    · · · · ·DR. SHIVA AYYADURAI:· It goes into a machine. And
·8    what happens in that machine? The paper ballot is converted to
·9    an image called a ballot image, no different than you taking a
10    phone, a picture with your iPhone. Now so what is actually
11    counted? The paper ballot gets put aside, the machine, the
12    electronic quote unquote AI on the machine, actually tries to
13    figure out where the circles are. And the machine is counting
14    the ballot image. So at that stamp, at that point I realized,
15    oh my god, the ballot image is the ballot, the images are the
16    ballot. So I - -
17    · · · · ·MIKE LINDELL:· - - You were gonna get to the bottom
18    of this no matter what.
19    · · · · ·DR. SHIVA AYYADURAI:· No, I am, because I - -
20    · · · · ·MIKE LINDELL:· - - Because you're like me. I want to
21    say something. One thing about Dr. Shiva, when I met him, I'm
22    going wow, he's just like me. I look at deviations every day,
23    if I see a TV station that normally does 10,000, because I
24    track them all individually, it does 10,000 and all of a


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·1    sudden, one day it did only 2,000. I'll tell you what, what I
·2    do is spend the rest of the day or a week or a month, I'm
·3    going to find out how that happened. Because the only way
·4    things change is what a different input.
·5    · · · · ·DR. SHIVA AYYADURAI:· Exactly.
·6    · · · · ·MIKE LINDELL:· A different input. So you've got this
·7    anomaly, you've got it, you've got this deviation. And not
·8    just because you are running, a person, you know, it's not
·9    like you were just biased going, you know, I won, I know I
10    won. Now you're digging in to find out how these, how this
11    weird mathematically - -
12    · · · · ·DR. SHIVA AYYADURAI:· - - Exactly, I mean the
13    scientist-engineer kicked in, right?
14    · · · · ·MIKE LINDELL:· Right.
15    · · · · ·DR. SHIVA AYYADURAI:· I mean, just like you're a
16    scientist and engineer in a very, from a marketing standpoint.
17    But I think we both sort of pursued the same aims. But here,
18    what we found out was that the first thing that gave me a big
19    insight is that A, ballot images are being created. And I also
20    found out by federal law, in 1974, they passed a law for
21    federal elections, those ballot images must be saved. So that
22    was one piece of the puzzle. Okay? The other piece of the
23    puzzle was, I found out that the voting machines, as early as
24    2002, have a feature in there called a weighted race feature,


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·1    where it's embedded into the system where you can multiply
·2    candidates votes by a percentage. All right, so what that
·3    means is you get 1,000 votes, I get 1,000 votes, I can
·4    multiply your votes by two, my votes by point five. And if
·5    everyone, anyone doesn't believe this, go look up the deebot
·6    voting manual, go to page two dash 126 in the manual in the
·7    2002 version, and you'll see it in there.
·8    · · · · ·MIKE LINDELL:· So did, were you able to prove that
·9    yours, that your election was stole by the machines? Did you
10    mathematically do you prove, did you prove 100% that this
11    could only be recreated by a machine to do that, 60/40, that's
12    it?
13    · · · · ·DR. SHIVA AYYADURAI:· Yeah. So what we proved, Mike,
14    was, first of all, we showed that the state had deleted the
15    ballot images, which means that if they had the ballot image,
16    they could have found the algorithm. So they came upon me to
17    use all that 40, 50, or 40 years of experience that I'd
18    learned from 14 all the way at MIT, I had to bring all that
19    rocket science to actually look at the data. And what I found
20    out in the data was a very interesting anomaly. Which in, as
21    you said a deviation, in one of the counties called Suffolk
22    County, which is typically highly Democrat. So we were able to
23    see these interesting numbers up, down, up, down, up down.
24    Essentially, imagine going to a casino, every time you roll


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·1    twice the number of odd as you get even, okay, it's unlikely,
·2    should be 50/50. And in fact, when we did the numbers, that
·3    pattern could only occur one in 100,000. We apply, we, you
·4    know, sued the state on this. And the judge did not dismiss
·5    our case.
·6    · · · · ·MIKE LINDELL:· It's still open.
·7    · · · · ·DR. SHIVA AYYADURAI:· It's still, not only it's open,
·8    but we survived dismissal. And the other thing was, we also
·9    showed that when I put this out on Twitter, and said, look,
10    the Secretary of State deleted ballot images, Twitter didn't
11    do anything to me, but the Secretary of State contacted
12    Twitter to shut me down along with the National Association of
13    State Election Directors that came out.
14    · · · · ·MIKE LINDELL:· Wow. Well, let me stop you right
15    there. Because I want to say something.
16    · · · · ·DR. SHIVA AYYADURAI:· Yeah.
17    · · · · ·MIKE LINDELL:· Did you hear the Twitter thing? All of
18    you in this country and the world know my Twitter was taken
19    down. You know why it was taken down the first time 20 some
20    days ago, is because I put up the new evidence, which Dr.
21    Shiva here, I'm going to tell him in a second, this new
22    evidence that came out shows the timestamp in space of where
23    you, you know, where the, who did it, what country did it,
24    like China.


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·1    · · · · ·DR. SHIVA AYYADURAI:· Well, remember, we have two
·2    cases. First, we show we basically went into court saying the
·3    Secretary of State contacted Twitter, that means Twitter takes
·4    orders from the government. This is what we showed, Twitter
·5    takes orders from the government.
·6    · · · · ·MIKE LINDELL:· And that's true, that's 100%.
·7    · · · · ·DR. SHIVA AYYADURAI:· Yes. Three hours of testimony - -
·8    · · · · ·MIKE LINDELL:· - - 100% The Secretary of State went
·9    to Jack Dorsey - -
10    · · · · ·DR. SHIVA AYYADURAI:· - - took orders from the
11    Secretary of State of Massachusetts. This is what happens in
12    countries like China, the government tells the corporations
13    what to do. And in, in the United States, what came out in our
14    three hours of testimony where I represented myself, no one
15    wanted to take the swamp on a Massachusetts. So what came out
16    was we have the Secretary of State's, the election director,
17    and the communications officer saying they contacted Twitter
18    to shut me down and Twitter obeyed.
19    · · · · ·MIKE LINDELL:· - - Is that still open? Is that still
20    open?
21    · · · · ·DR. SHIVA AYYADURAI:· Not only is it open, the judge
22    gave me the restraining order and the case is open. And my
23    other case to decertify, they tried to apply a 100, 200 page
24    motion to dismiss and the judge denied their motion. And that


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·1    means look, MIT, MIT is in Massachusetts, right? There's a lot
·2    of computer people there. No one has rebutted my mathematical
·3    explanation showing that they multiplied my, my votes by point
·4    666.
·5    · · · · ·MIKE LINDELL:· So 666, they multiply.
·6    · · · · ·DR. SHIVA AYYADURAI:· Exactly. And the other guys by
·7    one point two.
·8    · · · · ·MIKE LINDELL:· Everyone hear that?
·9    · · · · ·DR. SHIVA AYYADURAI:· Well, I think one of the things
10    that public needs to understand is federal laws, the
11    Department of Justice is supposed to enforce them. You know,
12    when we found out the ballot images were deleted, we inform
13    the, what's the name Barr, right, and the local US attorney,
14    and they've done nothing. So basically, this is what happens
15    in third world countries where they have laws but nothing's
16    followed. And if that's where we've gotten into it's a serious
17    problem for this country, because the law - -
18    · · · · ·MIKE LINDELL:· - - It's a serious problem, you
19    mentioned Barr, I mean, he comes out and says there was no
20    election fraud. You know, and here we have right here. You
21    told him of some right?
22    · · · · ·DR. SHIVA AYYADURAI:· I told him of some, I was - -
23    · · · · ·MIKE LINDELL:· And was this before the election even?
24    · · · · ·DR. SHIVA AYYADURAI:· Before, but this is in October.


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·1    · · · · ·MIKE LINDELL:· October?
·2    · · · · ·DR. SHIVA AYYADURAI:· I walked, so this is, yeah.
·3    · · · · ·MIKE LINDELL:· Bill Barr if you're watching, I mean,
·4    I mean, why would you say something like that when, yes, this
·5    is, this wasn't just election fraud. This was a historical
·6    election fraud. This was coming from a lecture from machines,
·7    from these machines, of biblical proportions, of historical
·8    proportions. And now this is, it's all going to get exposed.
·9    And I want all these, I want the senators, the congressmen,
10    the government, the governors, the legislators, everybody
11    needs to watch this show. And when you do, you know a lot of
12    you could go wow, I never knew, I never knew. And that will be
13    a lot of excuse for a lot of them because of our mainstream
14    media and all the people. I can't believe the money spent to
15    suppress this, you know, to suppress it. Though when you pop
16    anything that popped up, boy, they were right on it, let's
17    destroy him, let's destroy him. Like who was the last thing to
18    pop up? Me. When I see this I popped up and how you destroy my
19    platform, because everybody knows I'm out there. They've done
20    everything they could from, from bots and trolls, to go after
21    my integrity, Twitter. I mean, it's just been a massive
22    attack. But then you know, you're right over target, right.
23    · · · · ·DR. SHIVA AYYADURAI:· It wasn't Twitter acted alone.
24    We found the government contacting Twitter. Now this is a


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·1    fundamental violation of the First Amendment. Political
·2    speech, government speech cannot supercede political speech.
·3    So I bet you you'll find out that some government official may
·4    have likely been involved in contacting Twitter.
·5    · · · · ·MIKE LINDELL:· Oh, they're big. Oh, yeah. I know jack
·6    Dorsey who is involved. Jack, if you're out there, I mean, you
·7    did this to my movie a couple years ago with Unplanned where
·8    they shut Twitter down, Twitter shut that down for two hours
·9    when it, when it launched. I mean, you look at now we're
10    getting into a whole segment there, where you're talking about
11    how we all know, the social media, what they've done, you
12    know, from Mark, from Mark Zuckerberg and, and Jack Dorsey.
13    These platforms, the power they have along with the mainstream
14    media, you know, what did they do when they took over, you
15    talk about third world country, in Nazi Germany, they took
16    over, you know, all your, any, in any country like that
17    they'll take over your communications, you know, how are we
18    going to communicate? You're hear one sec. You know, and, and
19    this is where we're at, but we're going to get this out there,
20    this show is going to be, this is what everybody's been
21    waiting for. And, you know, if I, I encourage a newscast out
22    there, if you're, all these journalists, and all the, and all
23    you guys that have been calling me, all for three weeks now,
24    you never called me before, your, from your CNN's, to your New


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·1    York Times, your Washington Post. All you guys have been
·2    calling non-stop every day, because you think you got some
·3    kind of, making up some dirt or something. Because Dominion,
·4    you're saying things about Dominion. I encourage you all, you,
·5    why don't you be a real journalist and take this story, and
·6    run with it. Be the first one to go, wow, this is real. You'd
·7    bet, maybe you'd be, it'd become the biggest outlet in the
·8    country by doing that.
·9    · · · · ·DR. SHIVA AYYADURAI:· Because the real crime scene in
10    America is these computer algorithms.
11    · · · · ·MIKE LINDELL:· And I'm going to tell you, that is the
12    crime scene. And I'm going to tell you, this is their game too
13    that these machine guys played, it's, like dominion. They went
14    out there and a lot of these places I couldn't even go on the
15    media and talk about these machines because they were
16    threatened. I go on, I go on a news talk show and they go, we
17    can't talk about that. I was just on one last night. You can't
18    talk about that. Why not? Okay, now we have Patrick Colbeck
19    and he was a former state senator in Michigan. And Patrick,
20    how are you involved with, what brought you here today?
21    · · · · ·PATRICK COLBECK:· Yeah, well, I came from, as a
22    result of my decision to be a pole challenger out of the
23    Detroit AV counting board, I did a marathon 25 hour shift
24    from, starting on election night around five o'clock, all the


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·1    way through the next day. So we witnessed all the fun - -
·2    · · · · ·MIKE LINDELL:· - - This was in Michigan.
·3    · · · · ·PATRICK COLBECK:· Yeah.
·4    · · · · ·MIKE LINDELL:· Where in Michigan, what county?
·5    · · · · ·PATRICK COLBECK:· At the Detroit AV counting board in
·6    Wayne County. A little background on me. I mean, I was former,
·7    when I was a state senator, I was actually the vice chair of
·8    the elections government, Elections and Government Reform
·9    Committee in the Michigan State Senate. And in addition to
10    that background, my background as a Microsoft small business
11    specialist and, and I did cabling design on the space station.
12    So in other words, I'm familiar with election processes. And
13    I'm familiar with network configurations. So my focus when I
14    came at the Detroit AV counting board was, I wanted to
15    understand specifically the handoff of vote tally information
16    throughout the system. We did see evidence that it was
17    connected to the internet - -
18    · · · · ·MIKE LINDELL:· What was that evidence?
19    · · · · ·PATRICK COLBECK:· Well, that, that control center,
20    they've already been, they've already admitted to the fact
21    that that control center had computers that were connected to
22    the internet. And we saw the actual cable routed from the wall
23    of the, of the TCF center to the control center. And we have
24    election officials that admitted that there were computers, in


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·1    the control center that were connected to the Internet, and
·2    anybody with, worth their salt in IT land understands that if
·3    one computer is connected to the internet, they're all
·4    connected to the internet. You may say that it's air-gapped,
·5    you may say you have a firewall. There are people that eat
·6    firewalls for breakfast.
·7    · · · · ·MIKE LINDELL:· So what you're saying, you knowing
·8    that, so if it's connected to the internet, somebody out there
·9    could have hacked in and did the flipping of the votes.
10    · · · · ·PATRICK COLBECK:· Yep. When you get into a case where
11    you've got the same devices that are supposed to be capturing
12    that vote tally, connected to the internet, or frankly, even
13    connected to a large local area network, and you can't witness
14    that handoff of vote tallies, you don't have that seal. So you
15    may be thinking you're passing that information from point A
16    to point B. But there's nothing to prevent it from going to
17    point C and the internet, it's called a man in the middle
18    attack.
19    · · · · ·MIKE LINDELL:· Right. So that, so if you're on, if
20    you're online, I mean that anybody could get in there and do
21    that because they're intercepting that, it's interception.
22    That's why you don't have, machines aren't supposed to be
23    online in election, right?
24    · · · · ·PATRICK COLBECK:· Yes, it's called man in the middle.


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·1    And you wouldn't accept that if it was a traditional precinct.
·2    And you got that, you get that, that precinct results and it
·3    wasn't sealed, you'd be raising your hand saying something's
·4    rotten here.
·5    · · · · ·MIKE LINDELL:· Absolutely. I want to ask this though,
·6    because if you were there, did it slow down in the middle of
·7    the night when you were there? Like at 2 in the morning.
·8    · · · · ·PATRICK COLBECK:· Absolutely, yeah.
·9    · · · · ·MIKE LINDELL:· So it slowed down to a trickle.
10    · · · · ·UNKNOWN SPEAKER:· It was almost dead as the night.
11    Yeah and that's when some ballots came in in the back door.
12    · · · · ·MIKE LINDELL:· Well, now we're here with Melissa
13    Carone. And you were actually hired by Dominion for November
14    3rd and 4th, just for two days. Right?
15    · · · · ·MELISSA CARONE:· Yeah.
16    · · · · ·MIKE LINDELL:· And they found you online, right? You
17    had a resume online, you have an IT background?
18    · · · · ·MELISSA CARONE:· Yeah.
19    · · · · ·MIKE LINDELL:· Okay. So why don't you tell us, you
20    know, tell us what happened.
21    · · · · ·MELISSA CARONE:· So I was there to assist with IT
22    work for Dominion. So what I was doing was just walking up and
23    down the rows of the - -
24    · · · · ·MIKE LINDELL:· - - By the machines. Okay, so there's,


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·1    it's a tabulating machine.
·2    · · · · ·MELISSA CARONE:· Yeah. So I could get very close to
·3    these machines.
·4    · · · · ·MIKE LINDELL:· Okay, so then, so what about the, was,
·5    was that the only kind of machine?
·6    · · · · ·MELISSA CARONE:· No, there was, so the, on the stage
·7    there was adjudication machines in the front and the back and
·8    then on the sides there was the adjudicator, I'm sorry, the
·9    tabulating machines.
10    · · · · ·MIKE LINDELL:· Right, both Dominion machines,
11    correct?
12    · · · · ·MELISSA CARONE:· Both Dominion machines.
13    · · · · ·MIKE LINDELL:· Alright so you got to see what
14    thousands of votes?
15    · · · · ·MELISSA CARONE:· Thousands.
16    · · · · ·MIKE LINDELL:· Thousands upon thousands of votes.
17    Okay. What was on every vote?
18    · · · · ·MELISSA CARONE:· Every vote that I saw was for Joe
19    Biden.
20    · · · · ·MIKE LINDELL:· For Joe Biden. When I heard this and I
21    want to say, the, you seen, you worked how many hours? 20 - -
22    · · · · ·MELISSA CARONE: 22 straight hours - -
23    · · · · ·MIKE LINDELL: And then you came back for four hours?
24    · · · · ·MELISSA CARONE:· Correct.


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·1    · · · · ·MIKE LINDELL:· · Out of all that time, did you ever see
·2    one Trump vote?
·3    · · · · ·MELISSA CARONE:· I never saw a single Trump vote. So
·4    when the ballots got to the tabulating machines, they would
·5    just put them through, put them, it's kind of like a printer,
·6    you would look at it kind of like a printer where the paper
·7    would come out normally, that's where they were put in. And it
·8    would end up as they were tabulated on the top of the machine.
·9    So these would jam constantly, constantly jam. And because
10    these are mail-in ballots, creases, anything in them would jam
11    this.
12    · · · · ·MIKE LINDELL:· And when they jammed, what happened?
13    This is very interesting.
14    · · · · ·MELISSA CARONE:· When they jammed they would take the
15    ballots on the computer, there was a computer in front of each
16    person. It would say ballot number, you know, 20 jammed - -
17    · · · · ·MIKE LINDELL: Out of a group of 50. So the 20th ballot
18    jammed, then what?
19    · · · · ·MELISSA CARONE: So it would say discard or rescan and
20    the way they were supposed to do it is discard them and then
21    rescan them, but they were not discarding these.
22    · · · · ·MIKE LINDELL:· So they used the same, let's say 30
23    went through it got stuck on the 30th one, they put that
24    number 30 at the top of the same 50 pack and run them through


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·1    again.
·2    · · · · ·MELISSA CARONE:· Yeah.
·3    · · · · ·MIKE LINDELL:· So you're telling me that tabulator
·4    had no way to know it's just counting the number of like
·5    counting a deck of cards?
·6    · · · · ·MELISSA CARONE:· That's exactly what it is.
·7    · · · · ·MIKE LINDELL:· It's not, you can sit there run the
·8    same deck of cards through this tabulator over and over and
·9    over and over again. Is that right? - -
10    · · · · ·MELISSA CARONE:· - - Yeah, so one time through the
11    night I approached my manager and I said this, this machine
12    has a count of over 400 on it. I said what's going on here?
13    And he, I said this is not right. There's, they should not go
14    above 50. They shouldn't, because the batches are only 50.
15    · · · · ·MIKE LINDELL:· Only 50.
16    · · · · ·MELISSA CARONE:· And I said we have a huge problem
17    here. And he said I don't, he pulled me aside and he said I
18    don't want to hear that we have a problem. He said we are here
19    to assist with IT work.
20    · · · · ·MIKE LINDELL:· Now was this a Dominion guy?
21    · · · · ·MELISSA CARONE:· He's actually a part-owner of
22    Dominion.
23    · · · · ·MIKE LINDELL:· Wow. Okay. Well, what, so 26 hours of
24    watching ballot after ballot, Biden walking up and down these


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·1    tabulating machines, not one ballot was for Donald Trump.
·2    Okay, now we're here with Matt DePerno a friend and he's the
·3    lawyer that we all heard about this Antrim County. How did you
·4    get this county that you hear about and how do you even get
·5    involved in this?
·6    · · · · ·MATT DEPERNO:· Sure. Well, I know some people who
·7    live up in Antrim county and Antrim county is a small county
·8    up in northern Michigan, it historically votes roughly 65%
·9    Republican 35% Democrat. And in this case, it completely
10    flipped on election night. Roughly 65% of the vote went to Joe
11    Biden and 35% to Donald Trump. So people who lived up there
12    knew that there was a problem, they knew that the results were
13    not correct. And on the morning of November 4th, they actually
14    contacted the Antrim county clerk and requested that she look
15    into the results because they knew what had been posted on the
16    website could not be true. And through a series of events,
17    people I knew up there, and a person named Bill Bailey, who's
18    a patriot who lives up in Antrim County, and who knew there
19    was a problem and wanted to challenge the results. They ended
20    up connecting him to me and I filed a lawsuit. But what's
21    important is in filing this lawsuit, we weren't seeking
22    publicity. We weren't seeking fame. We just wanted to get
23    results. We filed the name, in the name of a patriot named
24    Bill Bailey and we challenged down-ballot school board


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·1    elections. That's what he was most interested in, in learning
·2    about school board elections. Of course, he was obviously also
·3    interested in other aspects of the election, what happened in
·4    the presidential election and how did things flip, but
·5    primarily the case centered on local politics. If you look at
·6    certain townships like Chestonia township. Joe Biden got 197
·7    votes on November 3rd. In reality, he only got 93.
·8    · · · · ·MIKE LINDELL:· How do we know that, that he only got
·9    93?
10    · · · · ·MATT DEPERNO:· There's since been a hand recount.
11    · · · · ·MIKE LINDELL:· A hand recount. So when did they do
12    that?
13    · · · · ·MATT DEPERNO:· They did a hand recount on November
14    21st and then again on December 17.
15    · · · · ·MIKE LINDELL:· Right, right.
16    · · · · ·MATT DEPERNO:· On December 17th actually, they told
17    us they were going to do a full audit of the county, the
18    Secretary of State did, but in in reality, they only did a
19    hand recount again.
20    · · · · ·MIKE LINDELL:· Okay. So on the recounts, we had 197.
21    And then over here, Donald Trump had three, so that when, the
22    real numbers were 93, and 197, is that correct?
23    · · · · ·MATT DEPERNO:· That's correct. So you can see Joe
24    Biden on election night got 197? He got Donald Trump's 197.


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·1    · · · · ·MIKE LINDELL:· Right. Right.
·2    · · · · ·MATT DEPERNO:· So we can know, we know that that was
·3    a - -
·4    · · · · ·MIKE LINDELL:· This is 100% fact here.
·5    · · · · ·MATT DEPERNO:· 100% facts here.
·6    · · · · ·MIKE LINDELL:· Now what we're showing here, you guys,
·7    so everyone knows, these are all precincts. I don't know if
·8    you can see this here. These are all precincts. So let's just
·9    do this precinct, 392, this is done through the machines and
10    Donald Trump got eight. What?! So here is the 392 to 8.
11    But the real number was 198 to 392.
12    · · · · ·MATT DEPERNO:· And if you see here, Elk Township, Joe
13    Biden got 392 in the election. In reality, those are Donald
14    Trump's votes. Those were the 392.
15    · · · · ·MIKE LINDELL:· Right they were just flipped. In order
16    for that to be off, you do the conclusion which I would right
17    now, 100%, how could that be off? It would be something wrong
18    with what?
19    · · · · ·MATT DEPERNO:· The machines.
20    · · · · ·MIKE LINDELL:· The machines, the machines. And what
21    we're showing here right now, what you're going to see, all
22    this what we've been talking about, this massive machine
23    election fraud that went on, where countries hacked into our
24    election. And nationwide, this is one little county in


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·1    northern Michigan, and these machines would do it right down
·2    to the precinct. Okay, what you're gonna see, this is the
·3    example we have that were, that was hand counted. And that,
·4    you know, the rest of the country, you know, didn't get to do
·5    that, they didn't have the luxury of being able to do that,
·6    you know. And so what I want to tell you all is this is the
·7    perfect example, just so you know, right down to the precinct
·8    level, what went on with these machine. I want to see one more
·9    here. So - -
10    · · · · ·MATT DEPERNO:· So you can look at like, Kearney
11    Township, Joe Biden got 744 on election night. Those were
12    Donald Trump's votes, he actually recorded 16 on election
13    night.
14    · · · · ·MIKE LINDELL:· So here's this county that
15    traditionally, always is like, 65%, Republican 35% Democrat,
16    correct?
17    · · · · ·MATT DEPERNO:· That's correct.
18    · · · · ·MIKE LINDELL:· Okay. So everyone in the county knew
19    when these numbers came in on November 4th, they're going
20    there's something wrong with the machines, everyone, everyone
21    would think that, it wouldn't matter if you're Democrat or
22    Republican. You're going, wow. And it's not like what, and
23    they couldn't use the deviation and say, well, it was because
24    of mail-in voting, because this is a, there's no huge cities


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·1    in there like Detroit, correct?
·2    · · · · ·MATT DEPERNO:· That's correct.
·3    · · · · ·MIKE LINDELL:· Right. So I just want everyone out
·4    there to know this before you get into town. This is just a
·5    small county, Northern Michigan, and they ended up flipping,
·6    we had 15,718 votes.
·7    · · · · ·MATT DEPERNO:· 15,718 votes.
·8    · · · · ·MIKE LINDELL:· Votes. And 7,060 were flipped from
·9    Trump to Biden, is that correct?
10    · · · · ·MATT DEPERNO:· And what's more even, it's even more -
11    -
12    · · · · ·MIKE LINDELL:· By machines right? It had to be done
13    by the machines.
14    · · · · ·MATT DEPERNO:· Absolutely by machines.
15    · · · · ·MIKE LINDELL:· Okay.
16    · · · · ·MATT DEPERNO:· If you look at the original vote
17    count, 7,769 for Joe Biden and 4,509 for Donald Trump. That
18    actually totals 12,278 votes by machine on November 3rd,
19    that's the vote tally. That wasn't correct. Because if you
20    look at the hand recount, it was actually 5959 for Joe Biden,
21    and 9759. For Donald Trump, which gets us to 15,718 votes. So
22    the question is, where did, where were the 3,200 votes on
23    election night. Why weren't they recorded?
24    · · · · ·MIKE LINDELL:· Yeah, right. And that, but, but even,


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·1    even with that, and we don't know why, we don't know why on
·2    that. We're, I'm here to show everyone out the facts and
·3    evidence that I've seen 100%. Here's 100%, this little county
·4    in northern Michigan, that look what the difference was, it
·5    was a net of 5,250 votes is that correct?
·6    · · · · ·MATT DEPERNO:· That's a net for Donald Trump.
·7    · · · · ·MIKE LINDELL:· That's a net for Donald Trump. There
·8    was 7,000, that's where you get the 7,060 votes.
·9    · · · · ·MATT DEPERNO:· So what I want to show you here in the
10    next slide is actually the number of registered voters, this
11    is what you're getting to, the number of registered voters in
12    the county is 22,082 votes and this is the total number of
13    votes cast by machine on November 3rd, 16,047. Now, of course,
14    not everyone votes for the president, that's why there's gonna
15    be some disparity. But you see what happened in Antrim County.
16    On November 3rd, there were 16,047 votes cast. And then on
17    November 5th when they did a recount, somehow they gain 2,000
18    more votes. And we haven't got an explanation as to why that
19    happened.
20    · · · · ·MIKE LINDELL:· But we do have, but we do know that
21    there was 7,000. If you were, if you were to say right now,
22    and go, you know what we do know that 7,060, Donald Trump had
23    7,060 more votes net out of this county?
24    · · · · ·MATT DEPERNO:· That's correct.


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·1    · · · · ·MIKE LINDELL:· That's 100% fact.
·2    · · · · ·MATT DEPERNO:· 100% fact.
·3    · · · · ·MIKE LINDELL:· 100% fact.
·4    · · · · ·MATT DEPERNO:· So after we filed the lawsuit, we, we
·5    at the same time, we filed the lawsuit, we also filed a motion
·6    with the court, asking the judge to allow us to take forensic
·7    images of the Dominion system, the Dominion voting system, and
·8    he granted that. And we then went in, and I believe it was
·9    December 6, and with a team of forensic scientists and data
10    collection scientists, we, we captured the forensic images of
11    the Dominion voting system, the master tabulator is what we
12    call it, sitting in the county building, along with all of the
13    CF cards, which are the program cards that run the actual
14    software, along with the actual data cards or thumb drives
15    that collect and tally the results in each precinct. We
16    captured the forensic images of all of those items.
17    · · · · ·MIKE LINDELL:· Okay, I want to I want to say
18    something there. So the people, did you hire these people to
19    do that?
20    · · · · ·MATT DEPERNO:· Correct.
21    · · · · ·MIKE LINDELL:· Okay and you didn't know them before
22    this right?
23    · · · · ·MATT DEPERNO:· We didn't know them before but people
24    got us in contact with - -


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·1    · · · · ·MIKE LINDELL:· - - Contact with forensic experts on
·2    these particular machines.
·3    · · · · ·MATT DEPERNO:· That's correct.
·4    · · · · ·MIKE LINDELL:· So, so that's, I just want everyone to
·5    know that this wasn't just some, you know, hey, let's grab
·6    somebody from the county and look at these machines. These
·7    were experts.
·8    · · · · ·MATT DEPERNO:· These are people with real experience
·9    analyzing forensic software images. It can't be overstated
10    enough, that these, these scientists, were also data
11    collection experts. And that's important because what we saw
12    in Antrim County, is the failure to properly follow procedures
13    in securing the election machines, the tabulation machines,
14    and securely transferring the votes, the chain of custody in
15    this situation was completely tampered with. What we know for
16    certain is that in the Dominion system manual, the manual
17    tells us exactly how to connect the machines to the internet.
18    The manual tells you how to do it.
19    · · · · ·MIKE LINDELL:· Is it easy?
20    · · · · ·MATT DEPERNO:· It's very easy.
21    · · · · ·MIKE LINDELL:· Could a guy like me plug it in?
22    · · · · ·MATT DEPERNO:· I'm certain you could probably figure
23    it out. You can, the manual tells you how to connect the
24    machine to the internet. In our case what we found through the


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·1    forensic study that was conducted was that on November 4th, at
·2    11:03pm, system files, adjudication files, and other source
·3    system files were deleted from the Dominion system in Antrim
·4    county. We know that for a fact. They were removed, we don't
·5    know who removed them or how they gained access to remove
·6    them.
·7    · · · · ·MIKE LINDELL:· Okay, hold on, hold on. We do now.
·8    You'll see that later in the show.
·9    · · · · ·MATT DEPERNO:· What we know in our case, but we in
10    our case, we don't know precisely because Antrim county and
11    the Secretary of State have not given us that information. But
12    we do know that those files were removed on November 4th at
13    11:03pm - -
14    · · · · ·MIKE LINDELL:· - - What's the significance of that,
15    that they're removed? What does that do to you as as trying to
16    investigate this? What did that do?
17    · · · · ·MATT DEPERNO:· Well, number one, I presume. And we've
18    asked the Antrim, county prosecutor to investigate whether
19    that was a crime to remove voting information from the system
20    prior to the expiration of 22 month period, which the items
21    are - -
22    · · · · ·MIKE LINDELL:· - - When that's removed what, that
23    means it was hard for you to do your audit?
24    · · · · ·MATT DEPERNO:· That's hard for us to review the


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·1    forensic images to conclusively understand whether the machine
·2    connected to the internet because in Michigan, at least 38
·3    other counties use the Dominion software. So if this is
·4    happening in Antrim County, and it was exposed in Antrim
·5    County because of the disparity, because there were only
·6    15,718 votes cast - -
·7    · · · · ·MIKE LINDELL:· - - You wouldn't notice this in a
·8    bigger city if it was that low a number.
·9    · · · · ·MATT DEPERNO:· Correct, if you were in Wayne County,
10    the 7,060 votes flipped, you wouldn't notice it. My team of
11    forensic scientists work tirelessly after December 6th, after
12    we collected the forensic images for about a week, they worked
13    very hard to review those images and put together a report.
14    And because of a protective order that was in place in this
15    case, I had to file a motion with the court asking the judge
16    to allow us to release the report that we had prepared. And we
17    did that, we did that on December 14th, the judge granted our
18    request and allowed us to release what's called the Allied
19    Security Operations Group. Preliminary summary version two,
20    dated December 13th 2020.
21    · · · · ·MIKE LINDELL:· - - Now is that public? Is that
22    public?
23    · · · · ·MATT DEPERNO:· It is public.
24    · · · · ·MIKE LINDELL:· Right so, so this is stuff that got


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·1    put out there. And I guarantee you, it was probably put out
·2    there, somebody probably put it on their Twitter and I'll bet
·3    you it was gone. You know they've probably tried to spread -
·4    that's just my opinion, I had to throw that in there.
·5    · · · · ·MATT DEPERNO:· Well, I can tell you, it's been on my
·6    website at depernolaw.com, since December 14th, and it has
·7    constantly been suppressed. For people who try to share the
·8    link on Facebook, or Google or through social media, it gets
·9    suppressed. And people are not allowed to share it. In some
10    cases, they try to share it and a screen comes up that says
11    that, that this information is not accurate.
12    · · · · ·MIKE LINDELL:· Here you had a perfect report. I mean,
13    that even the judge said you could put it out there, correct?
14    · · · · ·MATT DEPERNO:· Everything we've done in this case has
15    been permitted by the court in terms of the ability to release
16    information. But what it is actually, it's information that if
17    revealed, would show that the CEO of Dominion software, when
18    he testified in front of the Michigan Senate, this information
19    would show that he was not telling the truth about how the
20    Dominion system works.
21    · · · · ·MIKE LINDELL:· Wow.
22    · · · · ·MATT DEPERNO:· And here's what we concluded when we
23    released the report. This is what it states, we conclude that
24    the Dominion voting system is intentionally and purposely


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·1    designed with inherent errors to create systemic fraud and
·2    influence election results. Now, that's not my words. That's
·3    the words of the forensic team that looked at the forensic
·4    images and came to a conclusion about what they saw. That's
·5    what's in the report.
·6    · · · · ·MIKE LINDELL:· - - They concluded that the only
·7    reason you would have a machine like this is if you wanted it
·8    to steal an election.
·9    · · · · ·MATT DEPERNO:· Correct, because what they also found
10    is that this machine in Antrim County, generates errors at the
11    rate of 68% based on ballots that you put in the machine.
12    Remember this, when you take a piece of paper, and you vote on
13    it, you think when you're voting that you're tallying your
14    vote, and then you put that machine, that piece of paper into
15    the Dominion tabulation machine, you know how that process
16    works.
17    · · · · ·MIKE LINDELL:· Yeah.
18    · · · · ·MATT DEPERNO:· And you think you voted, but you
19    haven't voted yet, you haven't voted. And then until that
20    machine actually tabulates your result in the system. When you
21    put the paper in the tabulator, the tabulator takes that
22    paper, converts it to data, and data can be manipulated. In
23    the case of the way the Dominion system works, as I understand
24    it, based on information given to me by my forensic team, when


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·1    you insert that paper ballot in the machine and when an error
·2    is tabulated and remember this machine tabulates them at 68%
·3    error rate those ballots, those error ballots, go to what's
·4    called adjudication. Adjudication is a process where someone
·5    else other than the voter, is able to look at that ballot on a
·6    screen and determine the voters intent and vote that ballot
·7    for the voter. And with adjudication in the way the Dominion
·8    system works. You can accumulate over the night, a number of
·9    ballots, but what I can tell you what's interesting is the
10    2020 system log files are missing. But they are present for
11    2018 and 2016. This happened at 11:03pm on November 4th, what
12    happened on November 4, the day after the election is at least
13    in Michigan, this story broke across the state that Antrim
14    county had flipped in this manner.
15    · · · · ·MIKE LINDELL:· Okay, so it was such a deviation,
16    everybody here, that's why we all heard about Antrim County.
17    It was such a big deviation. It would be like, you know, the
18    whole time you know, for decades or years, whatever your going
19    to hear 65% Republican and 35% and you flip. The whole
20    townspeople probably having coffee going, what did you do?
21    They probably did a recount just themselves at the coffee
22    shops, you know. So now that makes sense. That's why it made
23    big national news. We all heard about it.
24    · · · · ·MATT DEPERNO:· Antrim County was not certifiable.


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·1    Based on what the machine spit out on election night. And what
·2    we requested is a full audit of the county, what we want all
·3    of the machines tested, we'd like to see all the machines
·4    tested across the state. We'd like to see audits across the
·5    state of Michigan. This is from the actual Dominion manual.
·6    This - -
·7    · · · · ·MIKE LINDELL: - - the Dominion manual.
·8    · · · · ·MATT DEPERNO:· This tells you know how to connect the
·9    machine to guess what, the internet?
10    · · · · ·MIKE LINDELL:· Did everybody hear that?
11    · · · · ·MATT DEPERNO:· This is another - -
12    · · · · ·MIKE LINDELL: But you have to be on the internet in order to do
13    this. So we're going to show you here, I thought these
14    machines didn't go on there. That's what we were told as the
15    public.
16    · · · · ·MATT DEPERNO:· It's what we are told.
17    · · · · ·SPEAKER 1:· If it's configured to print automatically,
18    it'll print anywhere from one to, you know, 5, 10 copies,
19    however many are needed in the jurisdiction. As well this
20    device can transmit directly. So that's all part of that
21    closed polls process, you hit that button once it prints out
22    the tapes, when it's done printing out the tapes, it will
23    automatically transmit the results as well.
24    · · · · ·SPEAKER 2:· What is the vehicle for the transmission


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·1    from the ICP? Is it cellular modem versus VPN?
·2    · · · · ·SPEAKER 1:· Well, it is a cellular modem that can be
·3    configured in a VPN. Right I mean, currently in Chicago Cook
·4    County, we worked with Verizon to secure that network. So we
·5    would have the same capabilities here.
·6    · · · · ·SPEAKER 2:· What wireless chipset slash modem does
·7    the hardware have?
·8    · · · · ·SPEAKER 1:· We support a variety. So it's really up
·9    to the jurisdictions what technology they want to use what's
10    compatible with their networks.
11    · · · · ·SPEAKER 3:· Currently, in some jurisdictions, we're
12    using basically a modem that is a 3g modem GSM. But we can
13    support multiple varieties of models [inaudible].
14    · · · · ·SPEAKER 1:· Including, including latest 4G standards.
15    · · · · ·SPEAKER 2:· So that answers to the next question, is
16    it 3g or 4g, Verizon, AT&T, or Sprint assuming all?
17    · · · · ·SPEAKER 1:· Yeah all networks, right? Yeah, I mean,
18    we actually transmit from the ICP in Mongolia as well so we're
19    not limited in networks.
20    · · · · ·SPEAKER 3:· Out in Puerto Rico, there's three
21    vendors, because the island is not covered by any, by any of
22    the vendors completely. So we use three different cellular
23    vendors for some ICPs with these vendor, Claro, AT&T and T
24    Mobile, I think, in the different parts of the island.


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·1    · · · · ·SPEAKER 2:· Everything gets complicated.
·2    · · · · ·MATT DEPERNO:· This is another slide from the
·3    Dominion software manual that tells you exactly how to set up
·4    your system to connect to the internet. Those are important
·5    slides to see. Again, another slide from Dominion Voting
·6    ImageCaste Central, which tells you as you can see in the
·7    bottom corner here, it says number box number one, ensure that
·8    the workstation is connected to the network switch with an
·9    ethernet cable, what does an ethernet cable get you? To the
10    internet.
11    · · · · ·MIKE LINDELL:· To the internet.
12    · · · · ·MATT DEPERNO:· These are, this is all information
13    that we've been able to look at, from the actual manual.
14    · · · · ·MIKE LINDELL:· So what do we got here that looks like
15    it was manipulated. What?!
16    · · · · ·MATT DEPERNO:· Well these spikes, these blue spikes
17    throughout this show you where Joe Biden got what we call
18    injections of votes at very specific times. These these big
19    ones on the left are November 3rd. So I'd be curious to see if
20    your data that you have - -
21    · · · · · MIKE LINDELL: It will. - -
22    · · · · · MATT DEPERNO: Correlates to those.
23    · · · · ·MIKE LINDELL:· So everybody knows what you're going
24    to see, when you see this spike, you're going to see a


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·1    forensic footprint, how that happened and who did it. China?
·2    Yes. If you're on the internet, the bottom line is you can
·3    get, you can cheat, you can do all kinds of things. And that's
·4    because otherwise you can't explain any of these numbers.
·5    Right?
·6    · · · · ·MATT DEPERNO:· That's correct. The machine results
·7    don't match up with the hand-tabulation.
·8    · · · · ·MIKE LINDELL:· To the real ballots, and once again,
·9    the you know, the purpose of this whole show, obviously, is to
10    show everyone in the world that these machines that this was
11    the biggest fraud and the biggest crime I believe against
12    humanity. It was a crime against humanity. If we wouldn't be
13    all talking about this now and this is all the truth is going
14    to be revealed.
15    · · · · ·MATT DEPERNO:· Michigan is under siege because this
16    is what I'm dealing with right now. Dana Nestle is the
17    Attorney General in the state of Michigan. She sent this tweet
18    out not too long ago, and it says fun fact, lawyers who
19    practice in Michigan are required to take an oath to support
20    the Michigan and US constitutions. Not to file unjust and or
21    frivolous actions, or mislead the court. The spate of Trump
22    lawsuits in our state violates each of these tenants, it
23    demeans our profession. What she's calling for, and she said
24    this publicly, she's calling for attorneys in Michigan, to be


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·1    disbarred who file lawsuits in Michigan, challenging the
·2    results of the election.
·3    · · · · ·MIKE LINDELL:· Could you guys all hear this? This is
·4    what we're up against, this Dominion, these machines is the
·5    biggest fraud in election. They stole this. But now the truth
·6    is all going to be revealed. People like this lady, what's her
·7    name?
·8    · · · · ·MATT DEPERNO:· Dana Nessel.
·9    · · · · ·MIKE LINDELL:· Dana Nessel. Dana Nessel, how dare you
10    put this out, you're supposed to protect Michigan in the US,
11    this is what I'm doing. This is why I'm getting attacked, this
12    is why everybody's getting attack. So anybody you know, here
13    you are the attorney of one of the few open cases where we
14    have 100% proof. First, they try and suppress the actual
15    report from it right here, right. And now they're trying, now
16    they're trying to just get rid of you.
17    · · · · ·MATT DEPERNO:· That's true. So we have Michigan
18    executive officials, who are now using the power of government
19    to threaten those with whom they disagree with sanctions.
20    They're threatening me and others with disbarment. So bringing
21    forth evidence now, in our country, not only gets you the
22    mockery of the mainstream media - -
23    · · · · ·MIKE LINDELL:· - - I've been there. - -
24    · · · · ·MATT DEPERNO:· - - Who refuse to actually report on


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·1    it, or the truth. But it now gets you ethics complaints filed
·2    against you if you are a lawyer. So what do we do about that?
·3    When the Michigan Attorney General, who is the chief law
·4    enforcement person in the state, threatens those with whom she
·5    disagrees? You know what that is? That's tyranny? That, you
·6    know, that is totalitarianism. So in our election system, and
·7    it's been going on for years after every election, people
·8    challenge elections. That happens on a regular basis. After elections
·9    that's part of our republic. That's part of public discourse.
10    We're enabled to go in and have those discussions through the
11    court system to challenge elections. And what Dana Nessel is
12    saying is that you can't do that anymore. Because if you try
13    to do it, she will threaten you, she will try to take your
14    license, and she will try to silence you. So her statements,
15    this is no longer part of public discourse. This is chilling.
16    · · · · ·MIKE LINDELL:· You think she's talking about all the
17    lawyers, she's talking about you.
18    · · · · ·MATT DEPERNO:· Well, we've talked about it, I totally
19    agree with you. She is talking about me. And we've talked
20    about the importance of public discourse. Her tweet, as I've
21    said, chills public discourse. What it does is it asks a
22    lawyer to put their fear above the representation of their
23    client in legitimate litigation. That is tyranny. That's
24    totalitarianism. That is fascism.


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·1    · · · · ·MIKE LINDELL:· She wants to scare you into doing
·2    nothing.
·3    · · · · ·MATT DEPERNO:· But it gets worse. Around November
·4    20th, Dana Nessel did an interview with The Washington Post
·5    and in that interview, she threatened every Michigan
·6    legislator. And she said that any Michigan legislator with
·7    whom she disagreed with, any of them who challenged these
·8    election results, she would investigate them and seek criminal
·9    sanctions against them. That is saying to these Michigan
10    legislatures, that if they, if they do anything, to bring
11    forth the word of their constituents to challenge election
12    results, they could be charged criminally. It's asking elected
13    officials again to put their fear above the word and the
14    choice of their constituents. And you ask yourself, why did so
15    many elected official Schools in Michigan refuse to look at
16    the evidence that was presented to them?
17    · · · · ·MIKE LINDELL:· They did it out of fear.
18    · · · · ·MATT DEPERNO:· Or time and time again say that they
19    haven't seen any evidence of voter fraud or vote interference.
20    And you combine that with what we've now learned about the
21    interview Dana Nessel gave on November 21st telling elected
22    officials they'd be charged criminally. And I say this right
23    now. Everything that Dana Nessel has done in terms of
24    threatening me, and threatening state legislatures violates


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·1    the Michigan rules of professional conduct. And she should
·2    resign immediately. It demonstrates that she's not fit for
·3    office.
·4    · · · · ·MIKE LINDELL:· Well, there's many like her, we know
·5    that. This is going to reveal all the evil in our country. All
·6    the criminals in the country, all the ones that tried to
·7    suppress this. And that's just from social media like Jack
·8    Dorsey like Mark Zuckerberg.
·9    · · · · · · · Well, everyone, this is the moment you've all
10    been waiting for. What you're going to see now is 100% proof
11    that we had upon our country, the biggest cyber attack in
12    history. And I'm gonna bring on Mary Fanning to explain how it
13    all happened. And that, show you the 100% proof. Mary, thanks
14    for coming on.
15    · · · · ·MARY FANNING:· Thanks, Mike. Today, we've been
16    watching cyber security experts. And they've explained some of
17    the things that happened in the election, some of the election
18    fraud. But what we're seeing here is, if you look at this
19    chart, is that there were cybersecurity experts who began
20    collecting information on November 1st. And so this was
21    before, during and after the election, that they were
22    collecting documentation. In fact, they collected terabytes of
23    information that document the election fraud before an
24    intrusion into our election. This was collected in 2995


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·1    counties in the United States. This was collected in real
·2    time. All right, so if you go to the chart, what you will see
·3    is a documentation of foreign interference in the election.
·4    The first column, if you look at the chart that shows that on
·5    11/5/2020, at 7:43 and 38 seconds, we had a foreign intrusion,
·6    and it shows the IP address, the Internet Protocol address,
·7    that is the number of that protocol address of the hacker that
·8    entered into our election. The second column is the owner or
·9    source of that IP address that shows the China net in Beijing
10    province entered the election, it shows an ID that is the
11    unique address of a computer that shows the exact computer
12    using that IP source that entered into our election. The next
13    is the target that's the IP target. That's the Internet
14    Protocol address of the target. All right. Then the next is
15    the target state. In this case, it shows that it's Michigan,
16    where in Michigan? That's the next column, it shows that it's
17    in Emmet County, Michigan. Then the ID target, that is a
18    unique address of another computer in the United States that
19    the hacker has gone into. And then it shows the method of
20    intrusion. Now on some cases, you're going to see that they
21    use credentials, that means that they have fake credentials,
22    because there were administrators that have been placed on the
23    Secretary of State's computers, false administrators. In other
24    cases, it shows that they broke through the firewall. In some


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·1    cases, they did both. Now, in the next column, it shows
·2    whether it was successful, you'll see a "Y" that shows that
·3    yes, it was successful. Now, oftentimes, they're not
·4    successful, and they have to go back and try for another
·5    intrusion. And then it shows whether that's in fact,
·6    successful as well. Then in the final column, what you're
·7    seeing are votes changed. Now, in this particular case, when
·8    they went into Emmet County, Michigan, the votes that were
·9    changed was they stole 3477 votes from Donald Trump. That's
10    what you're looking at. Now, as you go through this document,
11    and you look at all the multiple intrusions into our election.
12    What, what you'll notice that over 60% of these intrusions
13    come from China, so that is over 66% is what the number is,
14    over 66% of the intrusions into our election came from China.
15    Why is this important? Well, some things were set in place,
16    including some of the changes that took place In this country,
17    particularly when we had the Wuhan virus, or the COVID-19
18    virus hit this country. And we have a video. Well, first,
19    Mike, do you have any questions about this chart and what it
20    is showing?
21    · · · · ·MIKE LINDELL:· Yeah, so what, so what you have here
22    is that each one of these is its own timestamp. That is 100%
23    proof because you have that not only where it came from you,
24    it's basically you have their identification, you have that


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·1    you know, who they were attacking, their identification. This
·2    is what everybody would want. If you ever looked in and get an
·3    audit or wanted to look into a computer and look what went on
·4    in cyberspace. This is what you'd be looking for. Correct?
·5    · · · · ·MARY FANNING:· This is forensic evidence of foreign
·6    footprints, as they entered our election in a cyber warfare
·7    attack on our election. And then it shows exactly what they,
·8    you know, where did they come from? Which computer exactly,
·9    exactly the timestamp, exactly which computer they entered
10    into? In what state, which county? The, the ID, the unique ID
11    of the computer that they entered into and then it shows how
12    they entered using false credentials or breaking through the
13    firewall or both. Were they successful the first time, the
14    second time, and then it shows the votes that they stole from
15    Donald Trump. This is proof positive. This is documentation of
16    a cyber attack. But it also was documentation of the
17    footprints of those who entered our election.
18    · · · · ·MIKE LINDELL:· Right. And look at, if everybody knows
19    this here, everyone. You don't think this was all put together
20    in one big attack. Everyone was taught Donald Trump down,
21    down, down. This wasn't another country that wanted it the
22    other way. This was the biggest attack in history. And you
23    have, Mary you have, we have pages and pages, right thousands
24    of these pages of every, every county right of every, part of


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·1    every single attack?
·2    · · · · ·MARY FANNING:· There are thousands of pages of the
·3    documented footprints, the foreign intrusion into our
·4    elections. We see this is as coming from China, in many cases
·5    from Huawei, from Alibaba Cloud service, from China Unicom,
·6    from YouCloud from China Mobile TCOM. You know, this also came
·7    in from Iran as well there. This is the foreign intrusion,
·8    this is the theft of our vote. But it also is documenting
·9    exactly the votes, the vote totals that were stolen from
10    Donald Trump, what we have heard - -
11    · · · · ·MIKE LINDELL:· - - Well, this is what I've been
12    telling everyone. This is where you got if you add these
13    numbers up, when I when I said and I actually told the
14    president, when I met with him, I said, you know, you actually
15    won this election by almost 80 million votes for you, for
16    Donald Trump, to about 68 million for Biden. And that's not
17    counting all the other kinds of theft we talked about earlier
18    in the show. This is the, these other real numbers that were
19    taken off, and that were flipped. I mean, this is incredible,
20    everybody, this is, this is historical proof too. We not only
21    have, this is what we've all been waiting for. And Mary, you
22    said there's a video too, we want to show.
23    · · · · ·MARY FANNING:· This is a documentation, the proof
24    positive by cyber experts from in this country that began


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·1    documenting the theft of our election. They put together the
·2    full documentation of every vote, beginning on November 1st.
·3    So again, from before, during and after the election, they
·4    documented the footprints of the foreign intrusion into our
·5    election. That means that foreign adversaries really because
·6    this was an act of war to come in and steal the election from
·7    the American people and decide who our foreign adversaries
·8    were going to put in the White House to rule or to to be the
·9    president of this country. Now, there's a video and so that
10    will show if you, are you looking at the video, Mike?
11    · · · · ·MIKE LINDELL:· Yeah, we're pulling, we're gonna pull
12    up the video here, Mary. Okay, here we go. We're just pulling
13    we just pulled up the video. Wow, what's going on here with
14    all these lines?
15    · · · · ·MARY FANNING:· Well, you're the video what you're
16    watching is the surveillance system. In fact, this is the very
17    surveillance system that was built by people inside this
18    country within the cybersecurity battlespace that built some
19    of this document, builds some of these tools that were built
20    to keep this country safe. But what you're watching is that
21    every line on that drawing all those moving lines, they
22    represent the IP addresses of what I just showed you on the
23    chart. So so when you understand the hackers IP address, and
24    the IP address of the target and the votes that were stolen,


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·1    every one of those lines that you're watching, move across the
·2    chart and showing whether they were successful and and how
·3    many votes they stole, that documents that every red line as
·4    they turn red, as they finish stealing the vote, basically,
·5    the red lines are all China. So what you're seeing are the
·6    actual files being received and sent that's, that's a
·7    documentation of the real time theft of our elections. So
·8    every, every line on the map, there's a corresponding line on
·9    the sheet. And the color, and the line types represent the
10    severity of the attack. Now, red has been the most severe
11    attacks, those lines are all coming out of China. Those are
12    the most severe attacks on our election system. Now, this is,
13    this exact information, the same exact type of information I
14    should say, was presented to FBI Director, former FBI Director
15    James Comey, by a whistleblower in 2015. They knew, in fact
16    that our election machines were open for hacking, it's
17    important to understand that there are prismatic scoring
18    algorithms that they knew about that entered the election, and
19    they steal the vote at the transfer points. So at the point
20    where the election, the vote is leaving the Secretary of
21    State's office and these machines, that is the point at which
22    the vote is stolen at the transfer points. That's what you're
23    watching those packets moving is what is, is that's realtime
24    documentation of the theft of the vote from inside this


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·1    country. And then the numbers the last column, those document
·2    exactly the numbers of votes, it shows in some of the cases
·3    and from county where the vote was stolen and exactly the
·4    votes stolen and at the exact timestamp of when they were
·5    stolen and the number stolen at that point.
·6    · · · · ·MIKE LINDELL:· So Mary, so what you're saying now is
·7    and this is what, what I already know but actually I am
·8    learning a lot here as we go. What you're saying, every one of
·9    these lines, let's say we did take Antrim County and we took
10    that, we could pull out the timestamps for that county and we
11    could show the lines, the country that did it, we could show a
12    line for every single hack or attack that we had in this
13    election?
14    · · · · ·MARY FANNING:· That's right. So what you're watching
15    as those objects moving are the actual files that are being
16    received and sent.
17    · · · · ·MIKE LINDELL:· These are the buttons and the squares
18    here that are that are being sent. So everybody out there,
19    what you're looking at, I mean, this is the proof. So if any,
20    if like Antrim County, that case is still open, you just go
21    here you go. Now you know who did it, h ow many votes flipped,
22    when they did it, what time they did it, the computer it came
23    from, the country that attacked us. I mean, this is, this is
24    what I have been excited about and I only seen one, do you


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·1    know, Mary, I only seen one little line of that would show the
·2    IP address that you know all that stuff that you're showing
·3    us. When I found out that you had it forever, or that we had
·4    it, there's all these people had this for every single vote
·5    that every single attack and whether it was successful or not.
·6    Look at right now we got up on the screen. Georgia is just
·7    getting attacked. It was just getting attacked up here at that
·8    moment in time. And I and I suppose you know, they know what
·9    they're doing. They did the biggest attack right here. Look at
10    everybody, Georgia and Michigan getting bombarded. There's, my
11    guess is that was probably like three or four in the morning
12    when they really needed them votes to be flipped. Mary, this
13    is incredible.
14    · · · · ·MARY FANNING:· Yes, because there is proof positive.
15    There's documentation of all the foreign interference into our
16    election, showing exactly who stole the vote, how they stole
17    the vote, from which computers accessed to our election to
18    which computers they went into. So understand that
19    cybersecurity experts that work for this country, put all this
20    in place before the election even started to make sure that
21    they caught all of this information so that foreign
22    adversaries were not deciding our elections.
23    · · · · ·MIKE LINDELL:· Absolutely. And what a blessing that
24    they were there for us to catch all this and to get all this


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·1    put together. And even to have these, you know, to be
·2    proactive. They were proactive everybody and this is what a
·3    blessing this is because we came this close to never knowing.
·4    And this is actually a miracle that we have all this very, and
·5    this is amazing.
·6    · · · · · · · And now we have with us General McInerney, who
·7    is going to give us a prospectus on what we just seen.
·8    General, thanks for coming on.
·9    · · · · ·GENERAL THOMAS MCINERNEY:· Well, thank you, Mike, and
10    thanks for what you're doing for this great nation. This is
11    vitally important. You have just seen the most massive cyber
12    warfare attack in the history of mankind. Now, the founding
13    fathers did not know anything about cyber warfare. But we do.
14    And that's the important thing you have seen just how it was
15    orchestrated against our election system. And I took an oath
16    of office 60 some years ago, as a pleeb on the plains of West
17    Point, to support and defend the Constitution of the United
18    States, against all enemies, foreign and domestic. We now are
19    seeing the largest domestic enemy we have in our history. And
20    people must understand that what happened. You spelled it out,
21    it was driven by China. And they use the system that we have
22    had, because only that system could modulate and coordinate
23    the many simultaneous attacks that they used against us. And
24    why this is so important is because our military, which I


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·1    spent 35 years in the Air Force and ended up as the number
·2    three man in the air staff, as well as heading up Vice
·3    President Gore's reinventing government for the entire
·4    Department of Defense, those two jobs simultaneously. We now
·5    are faced with something our military has never seen before,
·6    nor have the American people. We are going against globalists
·7    who are not interested in America, they are interested in us
·8    becoming a socialist communist state. They talk about
·9    progressivism but progressivism is just the front door to
10    communism. They want a global communist world. And you must
11    understand that, America, it's so important. And it's so
12    important that President Trump, who won 79 million votes in
13    the election to 68 million for Biden, because we have and
14    you've seen those exact numbers, he dominated, it was an
15    awesome victory. And yet they turned it around, foreigners.
16    And we have not had one audit. This is the closest thing to an
17    audit that has been conducted in America on this important
18    election, the American people must understand what we are
19    facing today. And that's why all of us here that you're seeing
20    in this program are so focused. I could not understand was
21    that the legislatures, the judicial and the executive, meaning
22    the FBI, the Department of Justice, the intelligence
23    community, have failed us with deep staters. They did not
24    report this. This was the most massive cyber warfare attack.


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·1    So did Cyber Command, did the National Security Agency, did
·2    the CIA, did the Department of Justice, the FBI report this?
·3    No.
·4    · · · · ·MIKE LINDELL:· Well, General to put this in
·5    perspective then, you're 100% that this was the biggest cyber
·6    attack in the world, in world history, correct?
·7    · · · · · GENERAL THOMAS MCINERNEY:· That's correct.
·8    · · · · · MIKE LINDELL:· Wow.
·9    · · · · · Well, thank you. And we're gonna see, it's
10    gonna, I was telling everyone, General, when this, when this
11    is all revealed, we're going to be, it's going to be a great
12    uniter of all people in our country. And we're going to be in
13    the greatest revival ever to bring our country back to one
14    nation under God. Thank you.
15    · · · · · GENERAL THOMAS MCINERNEY:· Well God bless you for what
16    you're doing, Mike. Thank you very much.
17    · · · · · ·MIKE LINDELL:· ·Thank you, General. And now we have with
18    US Terry Turchie. He's the former Deputy Assistant Director of
19    Counterterrorism division of the FBI. And you know, Terry,
20    welcome to the show.
21    · · · · ·TERRY TURCHIE:· Thanks, Mike.
22    · · · · ·MIKE LINDELL:· And we've, we've just shown everybody
23    in the world 100% evidence that this was an attack on our
24    country and is still under attack by China and other countries


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·1    through the use of these machines used in our election. I want
·2    to ask you, you know, where was the FBI? People out there
·3    wonder where's the FBI or the DOJ during this whole time these
·4    last few months?
·5    · · · · ·TERRY TURCHIE:· Sure. Well, you know, a lot of former
·6    FBI agents are asking that too, as well, Mike, they're asking
·7    where's the FBI been? They're responsible and accountable for
·8    trying to protect the country. That's what our
·9    counterintelligence money is all about. That's what our
10    counterintelligence division is all about. And yet the
11    question of where were they and where are they, I think
12    probably could best be explained like this. The FBI is most
13    likely been as compromised as the Democratic Party and the
14    rest of the government. They simply didn't do the job. If they
15    had done the job. All that you just showed in this program
16    would have unfolded inside of a courtroom. And that's exactly
17    what we should be doing right now. We should be talking about
18    the penetration of the United States government and government
19    agencies - -
20    · · · · ·MIKE LINDELL:· - - What we've shown here to is, this
21    is all people. This has been, you know, what we shown today,
22    this is another country, taking our country, I don't care if
23    you're a Democrat or a Republican, we are one nation under
24    God, and to see what's I mean, I guess I'm very happy now that


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·1    it's all gonna get out to the country and everything is going
·2    to get out. And like I said before, during the show, there's
·3    been nine supreme court justices out there know, watching this
·4    show and saying, wow, 100%, this was an attack, and we are
·5    still under attack by other countries, including China leading
·6    the way. And they are, you know, they fraudulently stoled our
·7    election. And we have to, and and then to see that, how this
·8    could happen with the FBI and the DOJ, these people that were
·9    supposed to protect our country, including the Supreme Court.
10    If you were still in the FBI, I guess what would you, what
11    would you be doing right now, when you just see all this 100%
12    proof here that this happened, in the FBI now, what do, you
13    know, if they're out there, shouldn't they be doing something
14    now that this is all out in the open?
15    · · · · ·TERRY TURCHIE:· We would be launching a major
16    investigation of cyber activities,
17    · · · · ·MIKE LINDELL:· All these attacks, the people that you
18    know, from China, and on down that who did it, they're very
19    good at trying to bury everything, to bury these deviations
20    that came up, and then everything opened up, where everybody
21    knows that this was stole, but now we know how and why.
22    · · · · ·TERRY TURCHIE:· Well, certainly. And the purpose of
23    an intelligence operation of this magnitude, whether it's this
24    magnitude or even smaller is to, is to conceal itself, and to


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·1    be so hard to figure out that by the time you get to the
·2    conclusion, it's too late. And that's why it's very
·3    concerning, that the FBI that already knows and has the
·4    foundation of the China threat, well in its grasp, would try
·5    to write off or just not seem to understand how this would
·6    have been the next, next logical step for them.
·7    · · · · ·MIKE LINDELL:· Right, well, they weren't ready. They
·8    weren't proactive, but at least now we're, you know, we got
·9    we're going to be reactive, and, and we got to be reactive
10    first. And then we got to be proactive for the future. That
11    when this all manifests out. I've said it before, that this is
12    going to manifest into the greatest revival ever, it's going
13    to unite our country, not divide us, it's going to be the
14    great uniting and we will once again be one nation under God.
15    Thanks, Terry, for coming on. And God bless. And thanks for
16    all you've done and what you continue to do for our country.
17    · · · · ·TERRY TURCHIE:· You too, Mike, thanks for having me.
18    · · · · ·MIKE LINDELL:· Thank you. Now you've all seen
19    absolute proof of the biggest cyber attack in history. We
20    right now, it's a takeover of our country, we all see it
21    happening. And now you see the proof of where it came from
22    what happened. We all need to go out now, each and every one
23    of you and tell your friends, family, people, your social
24    media, spread this out everywhere, and to show that they all


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·1    need to watch this. And they all need to know the truth. And
·2    pretty soon everyone's gonna see this, including nine supreme
·3    court justices. You're all there watching, all nine of you.
·4    And you know what, I don't know what you can do. But I know
·5    you're there to protect our country. And everything has a
·6    precedence, everything going on. Well, this happened then so
·7    we're going to base it on that. This is the precedence. What's
·8    going on now, what's going to happen now is going to change
·9    the course of our world and our country forever. I've been
10    getting calls from world leaders. You know, they're looking at
11    us, what's going to happen over here. Ronald Reagan once said,
12    America is the shining city on the hill, whose beacon light
13    guides freedom-loving people everywhere. If the lights go out
14    here, the lights go out everywhere. I want to say that God has
15    had his hand in all of this. This has been on God's timing.
16    And when we get through all this, we will once again be one
17    nation under God.
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·8    · · · IN WITNESS WHEREOF, I have hereunto set my hand on

·9    · · · · · · · this 27th day of September, 2021.

10

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